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                                                                          BARFLY VENTURES, LLC              Page:            3 of 10
                                                                          35 OAKES ST SW STE 400
                                                                          GRAND RAP DS, MI 49503            Statement Date: 09/30/2020
                                                                                                            Primary Account: XXXXXX4777




                              CREDITS (Continued)
MGMCSTMTN 201001-18747-0003




                              Date Description                                                                                Amount
                              09/11   Transfer From Coml Analysis Ck Account                                                  2,998.10
                              09/11   Transfer From Coml Analysis Ck Account                                                  3,496.56
                              09/11   Transfer From Coml Analysis Ck Account                                                  5,291.19
                              09/11   Transfer From Coml Analysis Ck Account                                                  5,556.22
                              09/11   Transfer From Coml Analysis Ck Account                                                  6,719.10
                              09/11   Transfer From Coml Analysis Ck Account                                                  6,890.14
                              09/11   Transfer From Coml Analysis Ck Account                                                  7,330.18
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               50.00
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                              125.00
                              09/14   Mercmobile Deposit                                                                      1,100.00
                              09/14   Mercmobile Deposit                                                                      2,551.67
                              09/14   Transfer From Coml Analysis Ck Account                                                 15,717.85
                              09/14   Transfer From Coml Analysis Ck Account                                                 17,514.47
                              09/14   Transfer From Coml Analysis Ck Account                                                 17,720.51
                              09/14   Transfer From Coml Analysis Ck Account                                                 20,542.61
                              09/14   Transfer From Coml Analysis Ck Account                                                 22,074.96
                              09/14   Transfer From Coml Analysis Ck Account                                                 22,794.51
                              09/14   Transfer From Coml Analysis Ck Account         9                                       23,409.47
                              09/14   Transfer From Coml Analysis Ck Account                                                 34,404.82
                              09/14   Transfer From Coml Analysis Ck Account                                                 34,867.99
                              09/14   Transfer From Coml Analysis Ck Account                                                 35,741.00
                              09/14   Transfer From Coml Analysis Ck Account                                                 36,532.08
                              09/14   Mercmobile Deposit                                                                     45,337.00
                              09/15   Transfer From Coml Analysis Ck Account                                                    983.77
                              09/15   Transfer From Coml Analysis Ck Account                                                  1,225.39
                              09/15   Transfer From Coml Analysis Ck Account                                                  1,659.12
                              09/15   Transfer From Coml Analysis Ck Account                                                  4,034.85
                              09/15   Transfer From Coml Analysis Ck Account                                                  4,069.90
                              09/15   Transfer From Coml Analysis Ck Account                                                  4,129.56
                              09/15   Transfer From Coml Analysis Ck Account                                                  6,115.35
                              09/15   Transfer From Coml Analysis Ck Account                                                  6,599.11
                              09/15   Transfer From Coml Analysis Ck Account                                                  7,674.64
                              09/15   Transfer From Coml Analysis Ck Account                                                 11,357.84
                              09/15   Transfer From Coml Analysis Ck Account                                                 16,615.89
                              09/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                               50.00
                              09/16   Transfer From Coml Analysis Ck Account                                                    767.59
                              09/16   Transfer From Coml Analysis Ck Account                                                  1,497.74
                              09/16   Transfer From Coml Analysis Ck Account                                                  1,966.08
                              09/16   Transfer From Coml Analysis Ck Account                                                  2,155.07
                              09/16   Transfer From Coml Analysis Ck Account                                                  2,730.69
                              09/16   Transfer From Coml Analysis Ck Account                                                  2,805.82
                              09/16   Transfer From Coml Analysis Ck Account                                                  3,948.55
                              09/16   Transfer From Coml Analysis Ck Account                                                  5,296.70
                              09/16   Transfer From Coml Analysis Ck Account                                                  5,426.50
                              09/16   Transfer From Coml Analysis Ck Account                                                  5,796.56
                              09/16   Transfer From Coml Analysis Ck Account                                                  6,498.65
                              09/17   Transfer From Coml Analysis Ck Account                                                    442.12
                              09/17   Transfer From Coml Analysis Ck Account                                                    961.84
                              09/17   Payments Bhn Ft Sre                    For 2020-09-17 A/C Mercanti                      1,487.50
                              09/17   Transfer From Coml Analysis Ck Account                                                  1,775.12
                              09/17   Transfer From Coml Analysis Ck Account                                                  2,446.33
                              09/17   Transfer From Coml Analysis Ck Account                                                  3,602.83
                              09/17   Transfer From Coml Analysis Ck Account                                                  4,062.28
                              09/17   Transfer From Coml Analysis Ck Account                                                  4,258.25
                              09/17   Transfer From Coml Analysis Ck Account                                                  4,855.95
                              09/17   Transfer From Coml Analysis Ck Account                                                  5,046.45
                              09/17   Transfer From Coml Analysis Ck Account                                                  5,406.33
                              09/17   Transfer From Coml Analysis Ck Account                                                 11,401.98
                              09/18   Mercmobile Deposit                                                                         35.00
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                                                                              BARFLY VENTURES, LLC                        Page:            6 of 10
                                                                              35 OAKES ST SW STE 400
                                                                              GRAND RAP DS, MI 49503                      Statement Date: 09/30/2020
                                                                                                                          Primary Account: XXXXXX4777




                               CHECKS (Continued)
MGMCSTMTN 201001-18747-0006




                               Date      Check No      Amount          Date         Check No           Amount      Date      Check No     Amount
                              09/10       83885          795.00       09/21         83911                200.00   09/21       83936       1,897.40
                              09/09       83886           90.00       09/16         83912                584.36   09/21       83937       1,400.29
                              09/10       83887          816.25       09/16         83913                872.13   09/21       83938         300.00
                              09/15       83888          365.76       09/17         83914                231.34   09/29       83939         134.46
                              09/21       83889 *        128.00       09/18         83915                 50.00   09/29       83940         420.00
                              09/17       83891          190.25       09/18         83916                 20.00   09/29       83941   *     248.13
                              09/17       83892          243.35       09/28         83917              1,238.48   09/30       83943         592.31
                              09/15       83893        3,756.25       09/28         83918              1,052.46   09/29       83944         950.00
                              09/15       83894          179.00       09/28         83919                461.77   09/29       83945         238.35
                              09/14       83895        1,576.56       09/28         83920                877.76   09/29       83946         740.21
                              09/14       83896        1,063.87       09/24         83921              1,446.13   09/28       83947         179.00
                              09/15       83897        1,453.11       09/25         83922                483.05   09/29       83948         304.99
                              09/16       83898        1,742.50       09/22         83923                167.50   09/28       83949         387.74
                              09/15       83899          417.82       09/24         83924                239.95   09/28       83950         237.43
                              09/14       83900          340.47       09/21         83925                793.98   09/28       83951         144.21
                              09/16       83901           20.00       09/22         83926                 60.03   09/28       83952         107.18
                              09/16       83902            9.50       09/23         83927                 18.10   09/30       83953   *     458.00
                              09/14       83903          150.00       09/23         83928                387.43   09/25       83955         561.35
                              09/16       83904          303.62       09/21         83929                 80.48   09/29       83956         233.66
                              09/16       83905        1,810.51       09/22         83930                756.00   09/28       83957   *     700.00
                              09/16       83906          421.71       09/24         83931                 27.00   09/29       83960         342.40
                              09/18       83907        3,025.20       09/23         83932                492.94   09/29       83961       1,892.44
                              09/18       83908          303.62       09/23         83933                534.82   09/29       83962   *     108.26
                              09/18       83909          303.62       09/22         83934                 85.00   09/29       83964         371.39
                              09/15       83910          297.72       09/22         83935              1,027.46   09/29       83965          60.00
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                              Amount
                              09/01   Transfer To Coml Analysis Ck Account                                                                    140.00
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     2,336.51
                              09/01   Valley City Line Ach Xfer                                                                             3,611.82
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     4,227.44
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     4,326.00
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     4,726.65
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     4,928.37
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     5,997.33
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     6,256.17
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     6,357.94
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     6,469.14
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                     7,906.79
                              09/01   Accident Fund Online Pay                                                                              8,284.40
                              09/01   Internet Transfer To Internal Bank Ac XXXXXX639 On 9/01/20 At 14:03                                  10,000.00
                              09/01   Gordon Food Serv Ar Payment 0001-                                                                    14,754.58
                              09/01   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 9/01/20 At 14:05                                 35,000.00
                              09/01   Internet Transfer To Internal Bank Ac XXXXXX639 On 9/01/20 At 14:04                                 125,000.00
                              09/02   Gordon Food Serv Ar Payment 0001-                                                                         9.98
                              09/02   Gordon Food Serv Ar Payment 0001-                                                                        16.96
                              09/02   Gordon Food Serv Ar Payment 0001-                                                                       110.10
                              09/02   Visa Payment 402884xxxxx7816                                                                          5,456.80
                              09/03   Enviro-Master In Ach Batch Northern Mi                                                                  120.90
                              09/03   Transfer To Coml Analysis Ck Account                                                                    236.00
                              09/03   Transfer To Coml Analysis Ck Account                                                                    734.18
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     1,037.24
                              09/03   Enviro-Master In Ach Batch Grand Rapids                                                               1,112.40
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     1,117.97
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     1,210.05
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     3,700.99
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     4,273.82
                              09/03   Gordon Food Serv Ar Payment 0001-                                                                     4,743.85
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                                                                           35 OAKES ST SW STE 400
                                                                           GRAND RAP DS, MI 49503                Statement Date: 09/30/2020
                                                                                                                 Primary Account: XXXXXX4777




                              DEBITS (Continued)
MGMCSTMTN 201001-18747-0010




                              Date Description                                                                                     Amount
                              09/25   Gordon Food Serv Ar Payment 0001-                                                               72.58
                              09/25   Gordon Food Serv Ar Payment 0001-                                                              293.61
                              09/25   Gordon Food Serv Ar Payment 0001-                                                              396.32
                              09/25   Contribute Aegon Usa                                        corp                             2,393.13
                              09/25   Barfly Ventures 1054 Oct Fees                                                               16,211.95
                              09/28   Gordon Food Serv Ar Payment 0001-                                                               98.55
                              09/28   Gordon Food Serv Ar Payment 0001-                                                              333.48
                              09/28   Gordon Food Serv Ar Payment 0001-                                                            3,149.53
                              09/28   Gordon Food Serv Ar Payment 0001-                                                            3,275.36
                              09/28   Gordon Food Serv Ar Payment 0001-                                                            3,280.92
                              09/28   Gordon Food Serv Ar Payment 0001-                                                            3,670.73
                              09/28   Gordon Food Serv Ar Payment 0001-                                                            7,285.36
                              09/29   Transfer To Coml Analysis Ck Account                                                            95.00
                              09/29   Transfer To Coml Analysis Ck Account                                                           539.22
                              09/29   Transfer To Coml Analysis Ck Account                                                         1,189.37
                              09/29   Transfer To Coml Analysis Ck Account                                                         1,471.28
                              09/29   Valley City Line Ach Xfer                                                                    1,670.80
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            2,054.80
                              09/29   Visa Payment 402884xxxxx7816                                                                 2,594.31
                              09/29   Transfer To Coml Analysis Ck Account                                                         3,711.97
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            3,788.71
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            3,981.10
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            4,291.95
                              09/29   Transfer To Coml Analysis Ck Account                                                         4,331.34
                              09/29   Transfer To Coml Analysis Ck Account                                                         4,349.29
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            4,420.01
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            4,582.53
                              09/29   Transfer To Coml Analysis Ck Account                                                         4,854.00
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            5,393.50
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            5,420.74
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            5,585.84
                              09/29   Transfer To Coml Analysis Ck Account                                                         6,197.82
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            6,270.61
                              09/29   Gordon Food Serv Ar Payment 0001-                                                            6,589.51
                              09/29   Transfer To Coml Analysis Ck Account                                                         8,853.66
                              09/30   Gordon Food Serv Ar Payment 0001-                                                               61.58
                              09/30   Gordon Food Serv Ar Payment 0001-                                                              114.83
                              09/30   Gordon Food Serv Ar Payment 0001-                                                              174.78
                              09/30   Contribute Aegon Usa                                       corp                              2,489.11
                              09/30   Internet Transfer To Internal Bank Ac XXXXXX639 On 9/30/20 At 15:12                         12,000.00
                              09/30   Internet Transfer To Internal Bank Ac XXXXXX639 On 9/30/20 At 15:14                         24,000.00
                              09/30   Internet Transfer To Coml Analysis Ck XXXXXX4153 On 9/30/20 At 15:11                        40,000.00

                              DAILY BALANCE
                                Date                  Balance             Date                      Balance   Date            Balance
                                 09/01              203,556.06           09/11                184,065.62      09/22        429,395.13
                                 09/02              255,794.70           09/14                491,148.45      09/23        400,218.67
                                 09/03              210,948.99           09/15                122,442.14      09/24        219,219.67
                                 09/04              219,073.99           09/16                151,104.47      09/25        264,520.39
                                 09/08              558,776.97           09/17                131,950.41      09/28        519,207.36
                                 09/09              217,330.53           09/18                160,394.70      09/29        426,909.14
                                 09/10              145,156.50           09/21                393,803.12      09/30        395,173.37
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                                            BarFly Ventures
                                          Reconciliation Report
                                                   As Of 09/06/2020
                                          Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                           219,073.99
Deposits in Transit                                                                                                  3,926.92
Outstanding Checks and Charges                                                                                     -66,987.65
Adjusted Bank Balance                                                                                              156,013.26


Book Balance                                                                                                       156,013.26
Adjustments*                                                                                                             0.00
Adjusted Book Balance                                                                                              156,013.26




                                   Total Checks and Charges Cleared       433,702.75   Total Deposits Cleared      512,455.82



Deposits
Name                               Memo                                     Date           Doc No        Cleared    In Transit
General Ledger Entry               GFS            HCHL                   07/17/2020                                     13.80
General Ledger Entry               GFS            GRBC                   07/17/2020                                       5.72
General Ledger Entry               GFS            HCDT                   07/17/2020                                     16.56
General Ledger Entry               GFS            HCEL                   07/17/2020                                     11.04
General Ledger Entry               GFS            HCLN                   07/17/2020                                     14.74
General Ledger Entry               GFS            HCAA                   07/17/2020                                     24.84
General Ledger Entry               GFS            HCBL                   07/17/2020                                       8.28
General Ledger Entry               GFS            HCIN                   07/17/2020                                       8.16
General Ledger Entry               Paytronix E-Gift Card Payment         07/20/2020            eft                      25.00
General Ledger Entry               Paytronix E-Gift Card Payment         07/23/2020            eft                      25.00
General Ledger Entry               Reversed -- VISA PAYMENT 402884XXXXX78 08/03/2020           eft                    3,773.78
General Ledger Entry               Interco CASH                          08/31/2020            eft     17,538.45
General Ledger Entry               Interco CASH                          08/31/2020            eft     20,905.24
General Ledger Entry               Interco CASH                          08/31/2020            eft     22,099.83
General Ledger Entry               Interco CASH                          08/31/2020            eft     24,219.68
General Ledger Entry               Interco CASH                          08/31/2020            eft     32,316.04
General Ledger Entry               Interco CASH                          08/31/2020            eft     36,930.18
General Ledger Entry               Interco CASH                          08/31/2020            eft     43,031.83
General Ledger Entry               Interco CASH                          08/31/2020            eft     43,383.55
General Ledger Entry               Paytronix E-Gift Card Payment         08/31/2020            eft         40.00
General Ledger Entry               Paytronix E-Gift Card Payment         08/31/2020            eft         50.00
General Ledger Entry               Paytronix E-Gift Card Payment AMEX    08/31/2020            eft         96.38
General Ledger Entry               Interco CASH                          08/31/2020            eft      1,780.00
General Ledger Entry               Interco CASH                          08/31/2020            eft     12,895.87
General Ledger Entry               Interco CASH                          08/31/2020            eft     17,251.59
General Ledger Entry               Interco CASH                          08/31/2020            eft     13,893.22
General Ledger Entry               Interco CASH                          09/01/2020            eft     12,640.22
General Ledger Entry               Interco CASH                          09/01/2020            eft     11,379.00
General Ledger Entry               Interco CASH                          09/01/2020            eft      7,469.74
General Ledger Entry               Interco CASH                          09/01/2020            eft      7,447.80
General Ledger Entry               Interco CASH                          09/01/2020            eft      6,921.95
General Ledger Entry               Interco CASH                          09/01/2020            eft      5,267.38
General Ledger Entry               Interco CASH                          09/01/2020            eft      3,612.14
General Ledger Entry               Interco CASH                          09/01/2020            eft      3,380.33
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General Ledger Entry               Interco CASH                         09/01/2020         eft      1,820.20
General Ledger Entry               Interco CASH                         09/01/2020         eft      1,484.00
General Ledger Entry               Routable Routable IA44PRVMR          09/01/2020         eft          0.05
General Ledger Entry               Routable Routable IWOOAWN84          09/01/2020         eft          0.04
General Ledger Entry               Interco CASH                         09/01/2020         eft     19,529.53
General Ledger Entry               Interco CASH                         09/02/2020         eft      8,478.43
General Ledger Entry               Interco CASH                         09/02/2020         eft      1,077.53
General Ledger Entry               Interco CASH                         09/02/2020         eft      1,500.00
General Ledger Entry               Interco CASH                         09/02/2020         eft      1,711.93
General Ledger Entry               Interco CASH                         09/02/2020         eft      2,766.63
General Ledger Entry               Interco CASH                         09/02/2020         eft      3,041.33
General Ledger Entry               Interco CASH                         09/02/2020         eft      3,649.79
General Ledger Entry               Interco CASH                         09/02/2020         eft      6,896.97
General Ledger Entry               Interco CASH                         09/02/2020         eft      7,192.04
General Ledger Entry               Interco CASH                         09/02/2020         eft      7,282.53
General Ledger Entry               Interco CASH                         09/02/2020         eft      7,592.03
General Ledger Entry               Interco CASH                         09/02/2020         eft      7,856.50
General Ledger Entry               Interco CASH                         09/03/2020         eft      7,415.57
General Ledger Entry               Interco CASH                         09/03/2020         eft      5,393.48
General Ledger Entry               Interco CASH                         09/03/2020         eft      4,261.79
General Ledger Entry               Interco CASH                         09/03/2020         eft      4,202.63
General Ledger Entry               Interco CASH                         09/03/2020         eft      4,131.47
General Ledger Entry               Interco CASH                         09/03/2020         eft      4,015.92
General Ledger Entry               Interco CASH                         09/03/2020         eft      2,783.06
General Ledger Entry               Interco CASH                         09/03/2020         eft      1,518.91
General Ledger Entry               Interco CASH                         09/03/2020         eft       300.76
General Ledger Entry               Interco CASH                         09/03/2020         eft       150.02
General Ledger Entry               Paytronix E-Gift Card Payment        09/03/2020         eft        70.00
General Ledger Entry               Blackhawk Payment                    09/03/2020         eft      1,423.75
Pepsi                              Pepsi Rebate KC                      09/03/2020                   400.00
Pepsi                              Pepsi Rebate                         09/03/2020                 19,322.00
Pepsi                              Pepsi Annual Refund                  09/03/2020                 10,000.00
River City Dist                    LV Retail Beer Credit                09/03/2020                  2,165.00
General Ledger Entry               Interco CASH                         09/04/2020         eft      4,395.28
General Ledger Entry               Interco CASH                         09/04/2020         eft      4,298.62
General Ledger Entry               Interco CASH                         09/04/2020         eft      4,241.19
General Ledger Entry               Interco CASH                         09/04/2020         eft      2,465.04
General Ledger Entry               Interco CASH                         09/04/2020         eft      1,810.64
General Ledger Entry               Interco CASH                         09/04/2020         eft       971.98
General Ledger Entry               Interco CASH                         09/04/2020         eft       154.03
General Ledger Entry               Interco CASH                         09/04/2020         eft        38.55
General Ledger Entry               Paytronix E-Gift Card Payment        09/04/2020         eft        50.00
General Ledger Entry               GFS             HCHL                 09/04/2020                    18.34
General Ledger Entry               GFS             HCAA                 09/04/2020                    27.84
Total Deposits                                                                                   512,455.82      3,926.92



Checks and Charges
Name                               Memo                                   Date       Check No       Cleared    Outstanding
Recovery Allies of West M chigan                                        09/25/2019      81620                       100.00
Breanne Millstein                                                       01/02/2020      82781                        16.00
Innovo Development Group,- RO                                           03/05/2020      83448                       360.51
General Ledger Entry               PNC and US Bank Transfer             05/06/2020         eft                   28,500.00
Enroll123, LLC                                                          05/13/2020         eft                       18.00
Jill Spruit                                                             05/28/2020      83530                       165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*83218*05/29/2020                                  450.00
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General Ledger Entry                    GRBC ACCIDENT FUND ONLINE PAY        06/04/2020       eft                27.95
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY         06/04/2020      eft                17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY         06/04/2020      eft                57.95
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY        06/04/2020       eft                57.95
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY         06/04/2020      eft                57.95
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY         06/04/2020      eft                22.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY         06/04/2020      eft                27.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY         06/04/2020                         17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY         06/04/2020                         17.50
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY        06/04/2020                          17.50
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY         06/04/2020                         17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY         06/05/2020      eft                57.95
City of Grand Rapids Income Tax Dept                                          06/05/2020   83545               1,497.00
Kentucky Department of Revenue                                                06/05/2020   83546               1,216.00
Lexington-Fayette Divis on of Revenue                                         06/05/2020   83547                100.00
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY        06/05/2020                         17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY         06/05/2020                         17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY         06/10/2020      eft                27.95
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY         06/10/2020      eft                80.00
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY         06/10/2020                         17.50
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY        06/10/2020                          17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY         06/10/2020                         17.50
Valley C ty Linen                                                             06/16/2020      eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY         06/18/2020      eft               686.67
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
Valley C ty Linen                                                             06/29/2020   adj CC               212.00
United States Treasury                                                        07/23/2020   83658                815.34
General Ledger Entry                    VISA PAYMENT 402884XXXXX7816          08/03/2020      eft              3,773.78
Omega :Yeast Labs                                                             08/06/2020   83734                642.00
Kent County Health Department                                                 08/12/2020   83763     580.00
Kent County Health Department                                                 08/12/2020   83764     580.00
Kent County Health Department                                                 08/12/2020   83765     580.00
Kent County Health Department                                                 08/12/2020   83766     580.00
General Ledger Entry                    Reversed -- GORDON FOOD SERV AR PAYMEN08/15/2020      eft                11.75
Arrowaste Inc.                                                                08/19/2020   83790    1,052.46
Arrowaste Inc.                                                                08/19/2020   83791     461.77
Arrowaste Inc.                                                                08/19/2020   83792    1,238.48
Arrowaste Inc.                                                                08/19/2020   83793     877.76
City of Detro t                                                               08/19/2020   83797                173.00
Deatons Mechanical Co                                                         08/19/2020   83803     551.00
Hoekstra Electrical Serv ces                                                  08/19/2020   83808    2,421.00
The Lock Up Storage Centers                                                   08/19/2020   83817                227.60
787 Networks                                                                  08/26/2020   83823                497.70
Aspen Waste Systems Inc                                                       08/26/2020   83824     727.88
Bright House Networks                                                         08/26/2020   83825     588.97
Comcast                                                                       08/26/2020   83826     950.52
Cozzini Bros Inc                                                              08/26/2020   83827      90.50
DIRECTV                                                                       08/26/2020   83828     304.99
ECOLAB                                                                        08/26/2020   83829     702.68
Ecolab Pest Elim Div                                                          08/26/2020   83830     772.93
Empire Disposal                                                               08/26/2020   83831     480.00
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Engineered Protection Systems Inc                                        08/26/2020   83832      1,357.74
FedEx                                                                    08/26/2020   83833         98.76
Ferris Coffee & Nut Company, Inc                                         08/26/2020   83834       347.02
Hoekstra Electrical Serv ces                                             08/26/2020   83835       525.50
Holston Gases                                                            08/26/2020   83836       229.24
HotSchedules.com, Inc                                                    08/26/2020   83837      6,204.93
Humid ty Controls LLC                                                    08/26/2020   83838         60.00
Keg Logistics LLC                                                        08/26/2020   83840       756.00
Kidwell, Inc.                                                            08/26/2020   83841       190.97
Michigan Natural Storage Co                                              08/26/2020   83842       300.00
Mutual of Omaha                                                          08/26/2020   83843      4,834.65
One Way Products                                                         08/26/2020   83844      1,446.90
Paytronix Systems, Inc.                                                  08/26/2020   83845      5,173.58
Printing Productions Ink                                                 08/26/2020   83846       188.54
Sonitrol Great Lakes - Michigan                                          08/26/2020   83847       895.62
Sonitrol of Lexington, Inc.                                              08/26/2020   83848       142.53
Star 2 Star Communications LLC                                           08/26/2020   83849       107.56
TalentReef                                                               08/26/2020   83850       900.00
VSP Insurance Co.                                                        08/26/2020   83851       584.07
VSP Insurance Co.                                                        08/26/2020   83852       128.67
VSP Insurance Co.                                                        08/26/2020   83853       131.82
Waste Management of Michigan                                             08/26/2020   83854      1,102.29
Welders Supply Company                                                   08/26/2020   83855       215.80
Swanel Beverage Inc                                                      08/26/2020   83856       901.18
Gordon Food Service                                                      08/31/2020      eft        92.51
Gordon Food Service                                                      08/31/2020      eft     1,117.65
Gordon Food Service                                                      08/31/2020      eft     5,251.67
Gordon Food Service                                                      08/31/2020      eft     3,162.65
Gordon Food Service                                                      08/31/2020      eft     3,155.13
Gordon Food Service                                                      08/31/2020      eft     2,913.02
General Ledger Entry                Interco CASH                         08/31/2020      eft      315.20
General Ledger Entry                PNC, Chemical and US Bank Transfer   09/01/2020       0     10,000.00
Gordon Food Service                                                      09/01/2020      eft     4,726.65
General Ledger Entry                PNC, Chemical and US Bank Transfer   09/01/2020      eft   125,000.00
General Ledger Entry                PNC, Chemical and US Bank Transfer   09/01/2020      eft    35,000.00
General Ledger Entry                Interco CASH                         09/01/2020      eft      140.00
Gordon Food Service                                                      09/01/2020      eft     6,357.94
Valley C ty Linen                                                        09/01/2020      eft     3,611.82
Acc dent Fund                                                            09/01/2020      eft     8,284.40
Gordon Food Service                                                      09/01/2020      eft     4,326.00
Gordon Food Service                                                      09/01/2020      eft     5,997.33
Gordon Food Service                                                      09/01/2020      eft    14,754.58
Gordon Food Service                                                      09/01/2020      eft     7,906.79
Gordon Food Service                                                      09/01/2020      eft     4,227.44
Gordon Food Service                                                      09/01/2020      eft     4,928.37
Gordon Food Service                                                      09/01/2020      eft     2,336.51
Gordon Food Service                                                      09/01/2020      eft     6,469.14
Gordon Food Service                                                      09/01/2020      eft     6,256.17
Gordon Food Service                                                      09/02/2020      eft         9.98
Gordon Food Service                                                      09/02/2020      eft        16.96
General Ledger Entry                VISA PAYMENT 402884XXXXX7816         09/02/2020      eft     5,456.80
Gordon Food Service                                                      09/02/2020      eft      110.10
Gordon Food Service                                                      09/03/2020      eft     4,890.47
Gordon Food Service                                                      09/03/2020      eft     5,182.64
Gordon Food Service                                                      09/03/2020      eft     1,037.24
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Gordon Food Service                                                           09/03/2020             eft    4,273.82
Gordon Food Service                                                           09/03/2020             eft    6,400.37
Gordon Food Service                                                           09/03/2020             eft    1,117.97
Gordon Food Service                                                           09/03/2020             eft    4,743.85
Gordon Food Service                                                           09/03/2020             eft    3,700.99
Enviro-Master of West Michigan                                                09/03/2020             eft    1,112.40
Gordon Food Service                                                           09/03/2020             eft    4,930.57
Gordon Food Service                                                           09/03/2020             eft    7,480.32
Gordon Food Service                                                           09/03/2020             eft    1,210.05
Enviro-Master of West Michigan                                                09/03/2020             eft     120.90
General Ledger Entry                          Interco CASH                    09/03/2020             eft     734.18
General Ledger Entry                          Interco CASH                    09/03/2020             eft     236.00
Beer City Glass                                                               09/03/2020         83857                 8,552.40
Bluewater Technologies                                                        09/03/2020         83858       654.50
Ciesa Design                                                                  09/03/2020         83859                  192.75
City of East Lansing                                                          09/03/2020         83860                 2,786.67
Corrigan Logistics                                                            09/03/2020         83861                 1,868.00
Cozzini Bros Inc                                                              09/03/2020         83862                  266.00
D-C Elevator Co., Inc.                                                        09/03/2020         83863                  271.86
Draftex                                                                       09/03/2020         83864                  104.96
ECOLAB                                                                        09/03/2020         83865                  111.06
Ecolab Pest Elim Div                                                          09/03/2020         83866                  207.00
FedEx                                                                         09/03/2020         83867                   31.77
GTT Commun cations                                                            09/03/2020         83868                  342.19
Midwest Cutlery Service                                                       09/03/2020         83869                   27.00
One Way Products                                                              09/03/2020         83870                  114.48
Plaza Storage, LLC                                                            09/03/2020         83871                   90.00
Printing Productions Ink                                                      09/03/2020         83872                  878.17
Ray's Trash Service, Inc.                                                     09/03/2020         83873                   84.42
RichmondStamp Works Inc.                                                      09/03/2020         83874                  177.87
Roto-Rooter                                                                   09/03/2020         83875                  995.00
SHMG Occupational Health                                                      09/03/2020         83876                  425.00
Sonitrol Great Lakes - Michigan                                               09/03/2020         83877                   95.00
Sonitrol Great Lakes - Michigan                                               09/03/2020         83878                  502.44
Sonitrol Great Lakes - Michigan                                               09/03/2020         83879                  534.24
Stanley Convergent Secur ty Solut ons, Inc.                                   09/03/2020         83880                  418.12
Star 2 Star Communications LLC                                                09/03/2020         83881                  150.29
Star 2 Star Communications LLC                                                09/03/2020         83882                   91.90
Star 2 Star Communications LLC                                                09/03/2020         83883                  107.65
TelDesigns Inc.                                                               09/03/2020         83884                 3,520.00
Time Warner Cable                                                             09/03/2020         83885                  795.00
United Electrical Contractors                                                 09/03/2020         83886                   90.00
Waste Management                                                              09/03/2020         83887                  816.25
Bluewater Technologies                        Pre-petition                    09/03/2020        Voided -     -654.50
                                                                                                  83858
Airgas USA LLC - Rental                       BILLPMT                         09/03/2020   7.24138E+13       402.47
Andrew Woodruff                               BILLPMT                         09/03/2020   7.24138E+13      1,000.00
Armock Mechanical                             BILLPMT                         09/03/2020   7.24138E+13      3,277.83
Brewers Supply Group                          BILLPMT                         09/03/2020   7.24138E+13      2,366.25
Anthony Carpenter                             BILLPMT                         09/03/2020   7.24138E+13       100.00
Comfort Systems USA Indiana                   BILLPMT                         09/03/2020   7.24138E+13       301.05
Delta Dental                                  BILLPMT                         09/03/2020   7.24138E+13      5,792.07
Domant Property Services                      BILLPMT                         09/03/2020   7.24138E+13      1,675.78
Dover Grease Traps, Inc.                      BILLPMT                         09/03/2020   7.24138E+13      1,878.00
Driscon LLC                                   BILLPMT                         09/03/2020   7.24138E+13      6,164.40
HNI Risk Advisors                             BILLPMT                         09/03/2020   7.24138E+13     22,686.00
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HOODZ North America                 BILLPMT                                09/03/2020    7.24138E+13      1,500.00
Infinisource Benefit Services       BILLPMT                                09/03/2020    7.24138E+13        60.15
My Green Michigan LLC               BILLPMT                                09/03/2020    7.24138E+13       464.50
NuCO2                               BILLPMT                                09/03/2020    7.24138E+13      1,667.38
Premier Building Maintenance        BILLPMT                                09/03/2020    7.24138E+13      2,685.75
QSR Automations Inc.                BILLPMT                                09/03/2020    7.24138E+13      3,429.00
R. L. Schrieber                     BILLPMT                                09/03/2020    7.24138E+13       943.16
Renee Bodbyl                        BILLPMT                                09/03/2020    7.24138E+13       900.00
Rotella's Italian Bakery, Inc.      BILLPMT                                09/03/2020    7.24138E+13       340.13
Swept Away                          BILLPMT                                09/03/2020    7.24138E+13      2,345.00
Timothy Gauthier                    BILLPMT                                09/03/2020    7.24138E+13      1,282.50
Town Center Inc.                    BILLPMT                                09/03/2020    7.24138E+13      1,584.90
Unifirst Corporation - Lincoln      BILLPMT                                09/03/2020    7.24138E+13       228.27
Zachary McKinstry                   BILLPMT                                09/03/2020    7.24138E+13      1,050.00
Gordon Food Service                                                        09/04/2020            eft       142.02
General Ledger Entry                VISA PAYMENT 402884XXXXX7816           09/04/2020            eft      2,682.05
Gordon Food Service                                                        09/04/2020            eft        49.99
Gordon Food Service                                                        09/04/2020            eft        80.54
General Ledger Entry                Interco CASH                           09/04/2020            eft      2,829.08
General Ledger Entry                Interco CASH                           09/04/2020            eft      2,126.98
General Ledger Entry                Interco CASH                           09/04/2020            eft      1,206.82
General Ledger Entry                Interco CASH                           09/04/2020            eft        57.95
General Ledger Entry                Interco CASH                           09/04/2020            eft        57.95
General Ledger Entry                Interco CASH                           09/04/2020            eft        27.95
General Ledger Entry                Interco CASH                           09/04/2020            eft        27.95
General Ledger Entry                Interco CASH                           09/04/2020            eft        27.95
Gordon Food Service                                                        09/04/2020            eft       703.18
General Ledger Entry                Worldpay MTHCHGS Monthly Payment - BF Co09/04/2020           eft        96.86
Total Checks and Charges                                                                               433,702.75    66,987.65
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                                             BarFly Ventures
                                           Reconciliation Report
                                                   As Of 09/13/2020
                                          Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                           184,065.62
Deposits in Transit                                                                                                  3,926.92
Outstanding Checks and Charges                                                                                     -63,179.64
Adjusted Bank Balance                                                                                              124,812.90


Book Balance                                                                                                       124,812.90
Adjustments*                                                                                                             0.00
Adjusted Book Balance                                                                                              124,812.90




                                   Total Checks and Charges Cleared          580,960.60   Total Deposits Cleared   545,952.23



Deposits
Name                               Memo                                      Date           Doc No       Cleared    In Transit
General Ledger Entry               GFS            HCHL                      07/17/2020                                  13.80
General Ledger Entry               GFS            GRBC                      07/17/2020                                    5.72
General Ledger Entry               GFS            HCDT                      07/17/2020                                  16.56
General Ledger Entry               GFS            HCEL                      07/17/2020                                  11.04
General Ledger Entry               GFS            HCLN                      07/17/2020                                  14.74
General Ledger Entry               GFS            HCAA                      07/17/2020                                  24.84
General Ledger Entry               GFS            HCBL                      07/17/2020                                    8.28
General Ledger Entry               GFS            HCIN                      07/17/2020                                    8.16
General Ledger Entry               Paytronix E-Gift Card Payment            07/20/2020           eft                    25.00
General Ledger Entry               Paytronix E-Gift Card Payment            07/23/2020           eft                    25.00
General Ledger Entry               Reversed -- VISA PAYMENT 402884XXXXX7816 08/03/2020           eft                  3,773.78
General Ledger Entry               Interco CASH                             09/08/2020           eft   61,186.01
General Ledger Entry               Interco CASH                             09/08/2020           eft   46,284.37
General Ledger Entry               Interco CASH                             09/08/2020           eft   42,864.86
General Ledger Entry               Interco CASH                             09/08/2020           eft   41,799.25
General Ledger Entry               Interco CASH                             09/08/2020           eft   40,052.58
General Ledger Entry               Interco CASH                             09/08/2020           eft   38,469.99
General Ledger Entry               Interco CASH                             09/08/2020           eft   30,157.03
General Ledger Entry               Interco CASH                             09/08/2020           eft   28,387.41
General Ledger Entry               Interco CASH                             09/08/2020           eft   26,909.47
General Ledger Entry               Interco CASH                             09/08/2020           eft   21,736.71
General Ledger Entry               Interco CASH                             09/08/2020           eft   18,578.03
General Ledger Entry               Paytronix E-Gift Card Payment            09/08/2020           eft       50.00
General Ledger Entry               Interco CASH                             09/09/2020           eft   14,178.63
General Ledger Entry               Interco CASH                             09/09/2020           eft    8,467.87
General Ledger Entry               Interco CASH                             09/09/2020           eft    7,833.92
General Ledger Entry               Interco CASH                             09/09/2020           eft    5,676.12
General Ledger Entry               Interco CASH                             09/09/2020           eft    4,943.25
General Ledger Entry               Interco CASH                             09/09/2020           eft    4,585.01
General Ledger Entry               Interco CASH                             09/09/2020           eft    3,559.04
General Ledger Entry               Interco CASH                             09/09/2020           eft    2,116.27
General Ledger Entry               Interco CASH                             09/09/2020           eft    1,567.24
General Ledger Entry               Interco CASH                             09/09/2020           eft    1,462.23
General Ledger Entry               Infinisource0706 PC Aug20                09/09/2020           eft    1,736.72
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General Ledger Entry                    Blackhawk Payment                       09/10/2020         eft    1,657.50
General Ledger Entry                    Interco CASH                            09/10/2020         eft    7,042.23
General Ledger Entry                    Interco CASH                            09/10/2020         eft    5,773.95
General Ledger Entry                    Interco CASH                            09/10/2020         eft    5,061.36
General Ledger Entry                    Interco CASH                            09/10/2020         eft    3,206.44
General Ledger Entry                    Interco CASH                            09/10/2020         eft    2,923.93
General Ledger Entry                    Interco CASH                            09/10/2020         eft    2,761.28
General Ledger Entry                    Interco CASH                            09/10/2020         eft    2,634.11
General Ledger Entry                    Interco CASH                            09/10/2020         eft    1,703.60
General Ledger Entry                    Interco CASH                            09/10/2020         eft    1,482.67
General Ledger Entry                    Interco CASH                            09/10/2020         eft     141.70
General Ledger Entry                    Paytronix E-Gift Card Payment           09/10/2020         eft     175.00
General Ledger Entry                    Interco CASH                            09/10/2020         eft   10,324.72
General Ledger Entry                    Interco CASH                            09/11/2020         eft    1,678.37
General Ledger Entry                    Paytronix E-Gift Card Payment AMEX      09/11/2020         eft      48.24
General Ledger Entry                    Interco CASH                            09/11/2020         eft    7,330.18
General Ledger Entry                    Interco CASH                            09/11/2020         eft    6,890.14
General Ledger Entry                    Interco CASH                            09/11/2020         eft    6,719.10
General Ledger Entry                    Interco CASH                            09/11/2020         eft    5,556.22
General Ledger Entry                    Interco CASH                            09/11/2020         eft    5,291.19
General Ledger Entry                    Interco CASH                            09/11/2020         eft    3,496.56
General Ledger Entry                    Interco CASH                            09/11/2020         eft    2,998.10
General Ledger Entry                    Interco CASH                            09/11/2020         eft    2,956.59
General Ledger Entry                    Interco CASH                            09/11/2020         eft    2,883.40
General Ledger Entry                    Interco CASH                            09/11/2020         eft    2,613.64
Total Deposits                                                                                           ########      3,926.92



Checks and Charges
Name                                    Memo                                     Date        Check No     Cleared    Outstanding
Recovery Allies of West M chigan                                                09/25/2019      81620                     100.00
Breanne Millstein                                                               01/02/2020      82781                      16.00
Innovo Development Group,- RO                                                   03/05/2020      83448                     360.51
General Ledger Entry                    PNC and US Bank Transfer                05/06/2020         eft                 28,500.00
Enroll123, LLC                                                                  05/13/2020         eft                     18.00
Jill Spruit                                                                     05/28/2020      83530                     165.00
General Ledger Entry                    AVIDPAY BARFLY VENTURES REF*CK*83218*20 05/29/2020                                450.00
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     57.95
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     22.95
General Ledger Entry                    GRBC ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     27.95
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     17.50
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     27.95
General Ledger Entry                    HCMN ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     57.95
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/04/2020         eft                     57.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY           06/04/2020                                 17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/04/2020                                 17.50
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY           06/04/2020                                 17.50
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY           06/04/2020                                 17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020         eft                     57.95
City of Grand Rapids Income Tax Dept                                            06/05/2020      83545                   1,497.00
Kentucky Department of Revenue                                                  06/05/2020      83546                   1,216.00
Lexington-Fayette Divis on of Revenue                                           06/05/2020      83547                     100.00
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY          06/05/2020                                 17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020                                 17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY           06/10/2020         eft                     27.95
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY           06/10/2020         eft                     80.00
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General Ledger Entry                          HCAA ACCIDENT FUND ONLINE PAY           06/10/2020                             17.50
General Ledger Entry                          HCEL ACCIDENT FUND ONLINE PAY           06/10/2020                             17.50
General Ledger Entry                          HCLN ACCIDENT FUND ONLINE PAY           06/10/2020                             17.50
Valley C ty Linen                                                                     06/16/2020         eft               1,224.21
General Ledger Entry                          HCKC ACCIDENT FUND ONLINE PAY           06/18/2020         eft                686.67
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
Valley C ty Linen                                                                     06/29/2020      adj CC                212.00
United States Treasury                                                                07/23/2020      83658                 815.34
General Ledger Entry                          VISA PAYMENT 402884XXXXX7816            08/03/2020         eft               3,773.78
Omega :Yeast Labs                                                                     08/06/2020      83734                 642.00
General Ledger Entry                          Reversed -- GORDON FOOD SERV AR PAYMENT 08/15/2020         eft                 11.75
City of Detro t                                                                       08/19/2020      83797                 173.00
The Lock Up Storage Centers                                                           08/19/2020      83817                 227.60
787 Networks                                                                          08/26/2020      83823                 497.70
Beer City Glass                                                                       09/03/2020      83857     8,552.40
Ciesa Design                                                                          09/03/2020      83859                 192.75
City of East Lansing                                                                  09/03/2020      83860     2,786.67
Corrigan Logistics                                                                    09/03/2020      83861     1,868.00
Cozzini Bros Inc                                                                      09/03/2020      83862      266.00
D-C Elevator Co., Inc.                                                                09/03/2020      83863                 271.86
Draftex                                                                               09/03/2020      83864                 104.96
ECOLAB                                                                                09/03/2020      83865      111.06
Ecolab Pest Elim Div                                                                  09/03/2020      83866      207.00
FedEx                                                                                 09/03/2020      83867                  31.77
GTT Commun cations                                                                    09/03/2020      83868      342.19
Midwest Cutlery Service                                                               09/03/2020      83869       27.00
One Way Products                                                                      09/03/2020      83870      114.48
Plaza Storage, LLC                                                                    09/03/2020      83871       90.00
Printing Productions Ink                                                              09/03/2020      83872      878.17
Ray's Trash Service, Inc.                                                             09/03/2020      83873       84.42
RichmondStamp Works Inc.                                                              09/03/2020      83874                 177.87
Roto-Rooter                                                                           09/03/2020      83875      995.00
SHMG Occupational Health                                                              09/03/2020      83876      425.00
Sonitrol Great Lakes - Michigan                                                       09/03/2020      83877       95.00
Sonitrol Great Lakes - Michigan                                                       09/03/2020      83878      502.44
Sonitrol Great Lakes - Michigan                                                       09/03/2020      83879      534.24
Stanley Convergent Secur ty Solut ons, Inc.                                           09/03/2020      83880      418.12
Star 2 Star Communications LLC                                                        09/03/2020      83881      150.29
Star 2 Star Communications LLC                                                        09/03/2020      83882       91.90
Star 2 Star Communications LLC                                                        09/03/2020      83883      107.65
TelDesigns Inc.                                                                       09/03/2020      83884     3,520.00
Time Warner Cable                                                                     09/03/2020      83885      795.00
United Electrical Contractors                                                         09/03/2020      83886       90.00
Waste Management                                                                      09/03/2020      83887      816.25
General Ledger Entry                          Interco CASH                            09/08/2020         eft      17.50
ASR Health Benefits                                                                   09/08/2020         eft   41,194.03
General Ledger Entry                          Interco CASH                            09/08/2020         eft      17.50
General Ledger Entry                          Interco CASH                            09/08/2020         eft      17.50
Gordon Food Service                                                                   09/08/2020         eft     671.88
Gordon Food Service                                                                   09/08/2020         eft    2,611.01
Gordon Food Service                                                                   09/08/2020         eft     595.31
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Gordon Food Service                                                09/08/2020        eft        60.56
Gordon Food Service                                                09/08/2020        eft     3,532.23
Gordon Food Service                                                09/08/2020        eft     6,560.01
Gordon Food Service                                                09/08/2020        eft        60.56
Gordon Food Service                                                09/08/2020        eft     1,099.08
General Ledger Entry               Interco CASH                    09/08/2020        eft        17.50
General Ledger Entry               Interco CASH                    09/09/2020        eft     1,070.07
Gordon Food Service                                                09/09/2020        eft     4,499.15
General Ledger Entry               PNC, TCF and US Bank Transfer   09/09/2020        eft   275,000.00
General Ledger Entry               PNC, TCF and US Bank Transfer   09/09/2020        eft    45,000.00
Gordon Food Service                                                09/09/2020        eft     8,943.96
Gordon Food Service                                                09/09/2020        eft     6,760.19
Gordon Food Service                                                09/09/2020        eft     2,922.54
Gordon Food Service                                                09/09/2020        eft     5,534.74
Gordon Food Service                                                09/09/2020        eft     3,928.47
Gordon Food Service                                                09/09/2020        eft     4,887.12
Gordon Food Service                                                09/09/2020        eft     7,060.41
Gordon Food Service                                                09/09/2020        eft     7,622.92
Gordon Food Service                                                09/09/2020        eft     5,631.93
Gordon Food Service                                                09/09/2020        eft     6,363.75
OLO                                                                09/09/2020        eft     2,145.00
OLO                                                                09/09/2020        eft      315.75
Valley C ty Linen                                                  09/09/2020        eft     2,194.09
OLO                                                                09/09/2020        eft      645.69
General Ledger Entry               Interco CASH                    09/09/2020        eft        37.32
Gordon Food Service                                                09/10/2020        eft     3,067.97
General Ledger Entry               VISA PAYMENT 402884XXXXX7816    09/10/2020        eft     2,432.09
General Ledger Entry               CONTRIBUTE AEGON USA            09/10/2020        eft     2,395.08
Gordon Food Service                                                09/10/2020        eft     4,484.30
Gordon Food Service                                                09/10/2020        eft     6,971.94
Gordon Food Service                                                09/10/2020        eft     1,867.21
Gordon Food Service                                                09/10/2020        eft     2,931.16
Gordon Food Service                                                09/10/2020        eft     3,576.83
Gordon Food Service                                                09/10/2020        eft     6,691.76
Gordon Food Service                                                09/10/2020        eft     5,508.43
Enviro-Master of West Michigan                                     09/10/2020        eft      309.00
Gordon Food Service                                                09/10/2020        eft     6,036.71
Gordon Food Service                                                09/10/2020        eft     3,194.48
Gordon Food Service                                                09/10/2020        eft     4,031.03
AT_T                                                               09/10/2020      83888                 365.76
Carlin, Edwards, Brown PLLC                                        09/10/2020      83889                 128.00
Comcast                                                            09/10/2020      83890     1,374.93
Comcast                                                            09/10/2020      83891                 190.25
Comcast                                                            09/10/2020      83892                 243.35
Coverall of Western M chigan                                       09/10/2020      83893                3,756.25
Cozzini Bros Inc                                                   09/10/2020      83894                 179.00
ECOLAB                                                             09/10/2020      83895                1,576.56
Ecolab Pest Elim Div                                               09/10/2020      83896                1,063.87
Great America Financial Services                                   09/10/2020      83897                1,453.11
Hoekstra Electrical Serv ces                                       09/10/2020      83898                1,742.50
HotSchedules.com, Inc                                              09/10/2020      83899                 417.82
Integr ty Business Solutions                                       09/10/2020      83900                 340.47
K-Data Systems LLC                                                 09/10/2020      83901                  20.00
Kaat's Water Condit oning, Inc.                                    09/10/2020      83902                    9.50
Mahoney Environmental                                              09/10/2020      83903                 150.00
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NCR Corporation                                                                09/10/2020       83904                   303.62
NCR Corporation                                                                09/10/2020       83905                  1,810.51
NCR Corporation                                                                09/10/2020       83906                   421.71
NCR Corporation                                                                09/10/2020       83907                  3,025.20
NCR Corporation                                                                09/10/2020       83908                   303.62
NCR Corporation                                                                09/10/2020       83909                   303.62
Printing Productions Ink                                                       09/10/2020       83910                   297.72
State Street Area Association                                                  09/10/2020       83911                   200.00
TDS                                                                            09/10/2020       83912                   584.36
Time Warner Cable                                                              09/10/2020       83913                   872.13
Comcast                                                                        09/10/2020       83914                   231.34
Flor da Department of Revenue                                                  09/10/2020       83915                    50.00
Flor da Department of Revenue                                                  09/10/2020       83916                    20.00
Comcast                                                                        09/10/2020     Vo ded -   -1,374.93
A & L Janitorial Inc.                      BILLPMT                             09/10/2020    ######        462.95
Armock Mechanical                          BILLPMT                             09/10/2020    ######       1,810.69
                                                                                               ###
Anthony Carpenter                          BILLPMT                             09/10/2020    ######        290.00
Creative Ice                               BILLPMT                             09/10/2020    ######       1,130.00
Dover Grease Traps, Inc.                   BILLPMT                             09/10/2020    ######       2,485.00
                                                                                               ###
Driscon LLC                                BILLPMT                             09/10/2020    ######        686.70
DVCLEANINDY, LLC                           BILLPMT                             09/10/2020    ######       3,325.00
Grand Rap ds Graphix                       BILLPMT                             09/10/2020    ######       1,867.00
                                                                                               ###
Indeed Inc                                 BILLPMT                             09/10/2020    ######       2,266.89
Insite Business Solutions                  BILLPMT                             09/10/2020    ######       1,225.14
                                                                                               ###
My Green Michigan LLC                      BILLPMT                             09/10/2020    ######        464.50
NRL Consulting                             BILLPMT                             09/10/2020    ######      17,307.69
NuCO2                                      BILLPMT                             09/10/2020    ######       1,436.06
                                                                                               ###
Patr ce and Associates Franchising, Inc.   BILLPMT                             09/10/2020    ######       5,000.00
Premier Building Maintenance               BILLPMT                             09/10/2020    ######       5,413.25
R. L. Schrieber                            BILLPMT                             09/10/2020    ######        692.61
                                                                                               ###
Rotella's Italian Bakery, Inc.             BILLPMT                             09/10/2020    ######        397.63
Swept Away                                 BILLPMT                             09/10/2020    ######       2,345.00
Timothy Gauthier                           BILLPMT                             09/10/2020    ######       1,087.50
                                                                                               ###
Town Center Inc.                           BILLPMT                             09/10/2020    ######       2,618.98
Unifirst Corporation - Lincoln             BILLPMT                             09/10/2020    ######        361.03
                                                                                               ###
Enviro-Master of West Michigan                                                 09/11/2020          eft    1,098.00
Enroll123, LLC                                                                 09/11/2020          eft     112.50
Gordon Food Service                                                            09/11/2020          eft      27.94
General Ledger Entry                       ADP PAYROLL FEES ADP - FEES 10FB7   09/11/2020          eft    2,600.29
General Ledger Entry                       ADP PAYROLL FEES ADP - FEES 10221   09/11/2020          eft      51.82
Gordon Food Service                                                            09/11/2020          eft      12.39
Total Checks and Charges                                                                                 ########    63,179.64
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                                             BarFly Ventures
                                           Reconciliation Report
                                                   As Of 09/20/2020
                                          Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                            160,394.70
Deposits in Transit                                                                                                   3,926.92
Outstanding Checks and Charges                                                                                      -56,057.67
Adjusted Bank Balance                                                                                               108,263.95


Book Balance                                                                                                        108,263.95
Adjustments*                                                                                                              0.00
Adjusted Book Balance                                                                                               108,263.95




                                   Total Checks and Charges Cleared          547,344.84   Total Deposits Cleared    523,673.92



Deposits
Name                               Memo                                       Date           Doc No      Cleared     In Transit
General Ledger Entry               GFS            HCHL                      07/17/2020                                   13.80
General Ledger Entry               GFS            GRBC                      07/17/2020                                     5.72
General Ledger Entry               GFS            HCDT                      07/17/2020                                   16.56
General Ledger Entry               GFS            HCEL                      07/17/2020                                   11.04
General Ledger Entry               GFS            HCLN                      07/17/2020                                   14.74
General Ledger Entry               GFS            HCAA                      07/17/2020                                   24.84
General Ledger Entry               GFS            HCBL                      07/17/2020                                     8.28
General Ledger Entry               GFS            HCIN                      07/17/2020                                     8.16
General Ledger Entry               Paytronix E-Gift Card Payment            07/20/2020            eft                    25.00
General Ledger Entry               Paytronix E-Gift Card Payment            07/23/2020            eft                    25.00
General Ledger Entry               Reversed -- VISA PAYMENT 402884XXXXX7816 08/03/2020            eft                  3,773.78
General Ledger Entry               Paytronix E-Gift Card Payment            09/14/2020            eft      125.00
General Ledger Entry               Paytronix E-Gift Card Payment            09/14/2020            eft       50.00
General Ledger Entry               Interco CASH                             09/14/2020            eft   15,717.85
General Ledger Entry               Interco CASH                             09/14/2020            eft   17,514.47
General Ledger Entry               Interco CASH                             09/14/2020            eft   17,720.51
General Ledger Entry               Interco CASH                             09/14/2020            eft   20,542.61
General Ledger Entry               Interco CASH                             09/14/2020            eft   22,074.96
General Ledger Entry               Interco CASH                             09/14/2020            eft   22,794.51
General Ledger Entry               Interco CASH                             09/14/2020            eft   23,409.47
General Ledger Entry               Interco CASH                             09/14/2020            eft   34,404.82
General Ledger Entry               Interco CASH                             09/14/2020            eft   36,532.08
General Ledger Entry               Interco CASH                             09/14/2020            eft   35,741.00
General Ledger Entry               Interco CASH                             09/14/2020            eft   34,867.99
Acc dent Fund                      Acc dent Fund Workers Comp Refund        09/14/2020                  45,337.00
Grubhub                                                                     09/14/2020                   2,551.67
Standard Sales HCLV                                                         09/14/2020                   1,100.00
General Ledger Entry               Interco CASH                             09/15/2020            eft    6,599.11
General Ledger Entry               Interco CASH                             09/15/2020            eft    6,115.35
General Ledger Entry               Interco CASH                             09/15/2020            eft    4,129.56
General Ledger Entry               Interco CASH                             09/15/2020            eft    4,069.90
General Ledger Entry               Interco CASH                             09/15/2020            eft    4,034.85
General Ledger Entry               Interco CASH                             09/15/2020            eft    1,659.12
General Ledger Entry               Interco CASH                             09/15/2020            eft    1,225.39
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General Ledger Entry               Interco CASH                            09/15/2020          eft     983.77
General Ledger Entry               Interco CASH                            09/15/2020          eft   16,615.89
General Ledger Entry               Interco CASH                            09/15/2020          eft   11,357.84
General Ledger Entry               Interco CASH                            09/15/2020          eft    7,674.64
General Ledger Entry               Interco CASH                            09/16/2020          eft    6,498.65
General Ledger Entry               Interco CASH                            09/16/2020          eft    5,796.56
General Ledger Entry               Paytronix E-Gift Card Payment           09/16/2020          eft      50.00
General Ledger Entry               Interco CASH                            09/16/2020          eft     767.59
General Ledger Entry               Interco CASH                            09/16/2020          eft    5,426.50
General Ledger Entry               Interco CASH                            09/16/2020          eft    5,296.70
General Ledger Entry               Interco CASH                            09/16/2020          eft    3,948.55
General Ledger Entry               Interco CASH                            09/16/2020          eft    2,805.82
General Ledger Entry               Interco CASH                            09/16/2020          eft    2,730.69
General Ledger Entry               Interco CASH                            09/16/2020          eft    2,155.07
General Ledger Entry               Interco CASH                            09/16/2020          eft    1,966.08
General Ledger Entry               Interco CASH                            09/16/2020          eft    1,497.74
General Ledger Entry               Interco CASH                            09/17/2020          eft   11,401.98
General Ledger Entry               Interco CASH                            09/17/2020          eft    5,406.33
General Ledger Entry               Interco CASH                            09/17/2020          eft    5,046.45
General Ledger Entry               Interco CASH                            09/17/2020          eft    4,855.95
General Ledger Entry               Interco CASH                            09/17/2020          eft    4,258.25
General Ledger Entry               Interco CASH                            09/17/2020          eft    4,062.28
General Ledger Entry               Interco CASH                            09/17/2020          eft    3,602.83
General Ledger Entry               Interco CASH                            09/17/2020          eft    2,446.33
General Ledger Entry               Interco CASH                            09/17/2020          eft    1,775.12
General Ledger Entry               Interco CASH                            09/17/2020          eft     961.84
General Ledger Entry               Interco CASH                            09/17/2020          eft     442.12
General Ledger Entry               Blackhawk Payment                       09/17/2020          eft    1,487.50
General Ledger Entry               Interco CASH                            09/18/2020          eft    7,881.71
General Ledger Entry               Interco CASH                            09/18/2020          eft    6,567.38
General Ledger Entry               Interco CASH                            09/18/2020          eft    5,522.32
General Ledger Entry               Interco CASH                            09/18/2020          eft    5,386.47
General Ledger Entry               Interco CASH                            09/18/2020          eft    5,023.23
General Ledger Entry               Interco CASH                            09/18/2020          eft    3,685.29
General Ledger Entry               Interco CASH                            09/18/2020          eft    3,677.87
General Ledger Entry               Interco CASH                            09/18/2020          eft    3,576.52
General Ledger Entry               Interco CASH                            09/18/2020          eft    2,402.27
General Ledger Entry               Interco CASH                            09/18/2020          eft     279.57
Weber & Olcese                     Weber & Olcese                          09/18/2020                   35.00
Total Deposits                                                                                       #######       3,926.92



Checks and Charges
Name                               Memo                                      Date        Check No     Cleared    Outstanding
Recovery Allies of West M chigan                                           09/25/2019       81620                     100.00
Breanne Millstein                                                          01/02/2020       82781                      16.00
Innovo Development Group,- RO                                              03/05/2020       83448                     360.51
General Ledger Entry               PNC and US Bank Transfer                05/06/2020          eft                 28,500.00
Enroll123, LLC                                                             05/13/2020          eft                     18.00
Jill Spruit                                                                05/28/2020       83530                     165.00
General Ledger Entry               AVIDPAY BARFLY VENTURES REF*CK*83218*20 05/29/2020                                 450.00
General Ledger Entry               GRBC ACCIDENT FUND ONLINE PAY           06/04/2020          eft                     27.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY           06/04/2020          eft                     17.50
General Ledger Entry               HCKC ACCIDENT FUND ONLINE PAY           06/04/2020          eft                     57.95
General Ledger Entry               HCRO ACCIDENT FUND ONLINE PAY           06/04/2020          eft                     57.95
General Ledger Entry               HCMN ACCIDENT FUND ONLINE PAY           06/04/2020          eft                     57.95
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General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY           06/04/2020         eft                22.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY           06/04/2020         eft                27.95
General Ledger Entry                    HCMD ACCIDENT FUND ONLINE PAY           06/04/2020                            17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/04/2020                            17.50
General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY           06/04/2020                            17.50
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY           06/04/2020                            17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020         eft                57.95
City of Grand Rapids Income Tax Dept                                            06/05/2020      83545               1,497.00
Kentucky Department of Revenue                                                  06/05/2020      83546               1,216.00
Lexington-Fayette Divis on of Revenue                                           06/05/2020      83547                100.00
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY          06/05/2020                            17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020                            17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY           06/10/2020         eft                27.95
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY           06/10/2020         eft                80.00
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY           06/10/2020                            17.50
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY           06/10/2020                            17.50
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY           06/10/2020                            17.50
Valley C ty Linen                                                               06/16/2020         eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/18/2020         eft               686.67
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
Valley C ty Linen                                                               06/29/2020      adj CC               212.00
United States Treasury                                                          07/23/2020      83658     815.34
General Ledger Entry                    VISA PAYMENT 402884XXXXX7816            08/03/2020         eft              3,773.78
Omega :Yeast Labs                                                               08/06/2020      83734                642.00
General Ledger Entry                    Reversed -- GORDON FOOD SERV AR PAYMENT 08/15/2020         eft                11.75
City of Detro t                                                                 08/19/2020      83797                173.00
The Lock Up Storage Centers                                                     08/19/2020      83817                227.60
787 Networks                                                                    08/26/2020      83823                497.70
Ciesa Design                                                                    09/03/2020      83859     192.75
D-C Elevator Co., Inc.                                                          09/03/2020      83863                271.86
Draftex                                                                         09/03/2020      83864                104.96
FedEx                                                                           09/03/2020      83867      31.77
RichmondStamp Works Inc.                                                        09/03/2020      83874     177.87
AT_T                                                                            09/10/2020      83888     365.76
Carlin, Edwards, Brown PLLC                                                     09/10/2020      83889                128.00
Comcast                                                                         09/10/2020      83891     190.25
Comcast                                                                         09/10/2020      83892     243.35
Coverall of Western M chigan                                                    09/10/2020      83893    3,756.25
Cozzini Bros Inc                                                                09/10/2020      83894     179.00
ECOLAB                                                                          09/10/2020      83895    1,576.56
Ecolab Pest Elim Div                                                            09/10/2020      83896    1,063.87
Great America Financial Services                                                09/10/2020      83897    1,453.11
Hoekstra Electrical Serv ces                                                    09/10/2020      83898    1,742.50
HotSchedules.com, Inc                                                           09/10/2020      83899     417.82
Integr ty Business Solutions                                                    09/10/2020      83900     340.47
K-Data Systems LLC                                                              09/10/2020      83901      20.00
Kaat's Water Condit oning, Inc.                                                 09/10/2020      83902        9.50
Mahoney Environmental                                                           09/10/2020      83903     150.00
NCR Corporation                                                                 09/10/2020      83904     303.62
NCR Corporation                                                                 09/10/2020      83905    1,810.51
NCR Corporation                                                                 09/10/2020      83906     421.71
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NCR Corporation                                                                09/10/2020      83907    3,025.20
NCR Corporation                                                                09/10/2020      83908     303.62
NCR Corporation                                                                09/10/2020      83909     303.62
Printing Productions Ink                                                       09/10/2020      83910     297.72
State Street Area Association                                                  09/10/2020      83911                200.00
TDS                                                                            09/10/2020      83912     584.36
Time Warner Cable                                                              09/10/2020      83913     872.13
Comcast                                                                        09/10/2020      83914     231.34
Flor da Department of Revenue                                                  09/10/2020      83915      50.00
Flor da Department of Revenue                                                  09/10/2020      83916      20.00
Gordon Food Service                                                            09/14/2020        eft    5,870.41
General Ledger Entry                Interco CASH                               09/14/2020        eft     182.40
Gordon Food Service                                                            09/14/2020        eft    5,988.54
Gordon Food Service                                                            09/14/2020        eft    5,552.06
Gordon Food Service                                                            09/14/2020        eft    1,791.35
Gordon Food Service                                                            09/14/2020        eft      38.34
General Ledger Entry                P9 2020 - Mercantile Bank Charges (Corp)   09/15/2020        eft     213.10
General Ledger Entry                PNC, Chemical and US Bank Transfer         09/15/2020        eft   25,000.00
General Ledger Entry                Interco CASH                               09/15/2020        eft      98.02
General Ledger Entry                Interco CASH                               09/15/2020        eft      67.60
General Ledger Entry                Interco CASH                               09/15/2020        eft      67.30
General Ledger Entry                Interco CASH                               09/15/2020        eft      67.30
General Ledger Entry                Interco CASH                               09/15/2020        eft      67.30
Valley C ty Linen                                                              09/15/2020        eft    1,812.13
Gordon Food Service                                                            09/15/2020        eft    5,850.29
Gordon Food Service                                                            09/15/2020        eft    6,224.97
Gordon Food Service                                                            09/15/2020        eft    1,146.60
Gordon Food Service                                                            09/15/2020        eft    9,086.85
Gordon Food Service                                                            09/15/2020        eft    2,292.93
Gordon Food Service                                                            09/15/2020        eft    5,555.38
Gordon Food Service                                                            09/15/2020        eft    7,123.36
Gordon Food Service                                                            09/15/2020        eft    4,213.07
Gordon Food Service                                                            09/15/2020        eft    5,534.46
Gordon Food Service                                                            09/15/2020        eft    8,378.42
Gordon Food Service                                                            09/15/2020        eft    4,605.24
Gordon Food Service                                                            09/16/2020        eft      77.01
General Ledger Entry                VISA PAYMENT 402884XXXXX7816               09/16/2020        eft    4,243.53
Arrowaste Inc.                                                                 09/16/2020      83917               1,238.48
Arrowaste Inc.                                                                 09/16/2020      83918               1,052.46
Arrowaste Inc.                                                                 09/16/2020      83919                461.77
Arrowaste Inc.                                                                 09/16/2020      83920                877.76
City of Kalamazoo                                                              09/16/2020      83921               1,446.13
Comcast                                                                        09/16/2020      83922                483.05
Cozzini Bros Inc                                                               09/16/2020      83923                167.50
CTS Telecom Inc                                                                09/16/2020      83924                239.95
ECOLAB                                                                         09/16/2020      83925                793.98
Ecolab Pest Elim Div                                                           09/16/2020      83926                 60.03
FedEx                                                                          09/16/2020      83927                 18.10
Great America Financial Services                                               09/16/2020      83928                387.43
Integr ty Business Solutions                                                   09/16/2020      83929                 80.48
Keg Logistics LLC                                                              09/16/2020      83930                756.00
Midwest Cutlery Service                                                        09/16/2020      83931                 27.00
TDS                                                                            09/16/2020      83932                492.94
TDS                                                                            09/16/2020      83933                534.82
Uribe Refuse Serv ces                                                          09/16/2020      83934                 85.00
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Waste Management of Michigan                                                         09/16/2020        83935                1,027.46
Wisely Inc.                                                                          09/16/2020        83936                1,897.40
Airgas USA LLC - Rental                         BILLPMT                              09/16/2020   7.24138E+13     339.68
Amherst Consulting LLC                          BILLPMT                              09/16/2020   7.24138E+13   22,548.00
Best Way Disposal                               BILLPMT                              09/16/2020   7.24138E+13     500.44
Boss Business Solutions                         BILLPMT                              09/16/2020   7.24138E+13    7,093.01
Boston Square                                   BILLPMT                              09/16/2020   7.24138E+13     105.00
Anthony Carpenter                               BILLPMT                              09/16/2020   7.24138E+13     120.00
Domant Property Services                        BILLPMT                              09/16/2020   7.24138E+13     837.89
Driscon LLC                                     BILLPMT                              09/16/2020   7.24138E+13    3,863.70
Grand Rap ds Graphix                            BILLPMT                              09/16/2020   7.24138E+13    1,412.00
Insite Business Solutions                       BILLPMT                              09/16/2020   7.24138E+13    1,613.86
Jaffe, Ra tt, Heuer and Weiss Professional Co   BILLPMT                              09/16/2020   7.24138E+13   29,336.29
Mastodon Ventures, Inc.                         BILLPMT                              09/16/2020   7.24138E+13   20,000.00
My Green Michigan LLC                           BILLPMT                              09/16/2020   7.24138E+13     464.50
Premier Building Maintenance                    BILLPMT                              09/16/2020   7.24138E+13    1,659.50
Professional Maintenance of Michigan, Inc.      BILLPMT                              09/16/2020   7.24138E+13     362.00
R. L. Schrieber                                 BILLPMT                              09/16/2020   7.24138E+13     783.60
Renee Bodbyl                                    BILLPMT                              09/16/2020   7.24138E+13     600.00
Rock Creek Advisors LLC                         BILLPMT                              09/16/2020   7.24138E+13    #####
Rotella's Italian Bakery, Inc.                  BILLPMT                              09/16/2020   7.24138E+13     833.85
Sugar Felsenthal Grais & Helsinger LLP          BILLPMT                              09/16/2020   7.24138E+13   68,400.00
Swept Away                                      BILLPMT                              09/16/2020   7.24138E+13    2,345.00
Timothy Gauthier                                BILLPMT                              09/16/2020   7.24138E+13    1,185.00
Town Center Inc.                                BILLPMT                              09/16/2020   7.24138E+13    1,220.00
Warner Norcross _ Juddd, LLP                    BILLPMT                              09/16/2020   7.24138E+13   43,531.34
Zachary McKinstry                               BILLPMT                              09/16/2020   7.24138E+13     735.00
ADP, LLC                                        BILLPMT                              09/16/2020   7.24138E+13      57.09
Compeat, Inc.                                   BILLPMT                              09/16/2020   7.24138E+13    3,177.00
General Ledger Entry                            PNC, Chemical and US Bank Transfer   09/17/2020             0   11,000.00
Gordon Food Service                                                                  09/17/2020           eft    4,682.95
General Ledger Entry                            PNC, Chemical and US Bank Transfer   09/17/2020           eft    8,000.00
Gordon Food Service                                                                  09/17/2020           eft    3,816.05
Gordon Food Service                                                                  09/17/2020           eft    2,486.49
Gordon Food Service                                                                  09/17/2020           eft    1,246.15
Gordon Food Service                                                                  09/17/2020           eft    4,574.71
Gordon Food Service                                                                  09/17/2020           eft    4,065.16
Gordon Food Service                                                                  09/17/2020           eft    2,682.73
Gordon Food Service                                                                  09/17/2020           eft    8,068.76
Enviro-Master of West Michigan                                                       09/17/2020           eft     867.00
General Ledger Entry                            PNC, Chemical and US Bank Transfer   09/17/2020           eft    6,000.00
Enviro-Master of West Michigan                                                       09/17/2020           eft     105.00
Gordon Food Service                                                                  09/17/2020           eft    2,946.95
Gordon Food Service                                                                  09/17/2020           eft    1,114.86
Gordon Food Service                                                                  09/17/2020           eft    2,401.42
ECOLAB                                                                               09/17/2020        83937                1,400.29
Ecolab Pest Elim Div                                                                 09/17/2020        83938                 300.00
Gordon Food Service                                                                  09/18/2020           eft     223.84
Gordon Food Service                                                                  09/18/2020           eft      50.33
Gordon Food Service                                                                  09/18/2020           eft     136.68
Gordon Food Service                                                                  09/18/2020           eft     239.85
Gordon Food Service                                                                  09/18/2020           eft     162.13
Gordon Food Service                                                                  09/18/2020           eft      50.03
Gordon Food Service                                                                  09/18/2020           eft     182.03
HR Select, LLC                                                                       09/18/2020           eft     361.00
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HR Select, LLC                                                   09/18/2020        eft    418.00
General Ledger Entry               Interco CASH                  09/18/2020        eft   9,827.85
General Ledger Entry               Interco CASH                  09/18/2020        eft    239.16
Total Checks and Charges                                                                 #######    56,057.67
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                                             BarFly Ventures
                                           Reconciliation Report
                                                   As Of 09/27/2020
                                          Account: Checking - BarFly Oper Merc
Statement Ending Balance                                                                                             264,520.39
Deposits in Transit                                                                                                      153.14
Outstanding Checks and Charges                                                                                       -50,832.37
Adjusted Bank Balance                                                                                                213,841.16


Book Balance                                                                                                         213,841.16
Adjustments*                                                                                                               0.00
Adjusted Book Balance                                                                                                213,841.16




                                  Total Checks and Charges Cleared          404,675.46   Total Deposits Cleared      508,801.15



Deposits
Name                              Memo                                      Date           Doc No         Cleared     In Transit
General Ledger Entry              GFS            HCBL                      07/17/2020                                       8.28
General Ledger Entry              GFS            HCIN                      07/17/2020                                       8.16
General Ledger Entry              GFS            HCAA                      07/17/2020                                     24.84
General Ledger Entry              GFS            HCLN                      07/17/2020                                     14.74
General Ledger Entry              GFS            HCEL                      07/17/2020                                     11.04
General Ledger Entry              GFS            HCDT                      07/17/2020                                     16.56
General Ledger Entry              GFS            GRBC                      07/17/2020                                       5.72
General Ledger Entry              GFS            HCHL                      07/17/2020                                     13.80
General Ledger Entry              Paytronix E-Gift Card Payment            07/20/2020           eft                       25.00
General Ledger Entry              Paytronix E-Gift Card Payment            07/23/2020           eft                       25.00
General Ledger Entry              Reversed -- VISA PAYMENT 402884XXXXX7816 08/03/2020           eft       3,773.78
General Ledger Entry              Interco CASH                             09/21/2020           eft      43,399.83
General Ledger Entry              Interco CASH                             09/21/2020           eft      37,478.13
General Ledger Entry              Interco CASH                             09/21/2020           eft      35,120.13
General Ledger Entry              Interco CASH                             09/21/2020           eft      26,637.16
General Ledger Entry              Interco CASH                             09/21/2020           eft      21,669.91
General Ledger Entry              Interco CASH                             09/21/2020           eft      21,023.41
General Ledger Entry              Interco CASH                             09/21/2020           eft      20,946.65
General Ledger Entry              Interco CASH                             09/21/2020           eft      20,171.71
General Ledger Entry              Interco CASH                             09/21/2020           eft      14,681.23
General Ledger Entry              Interco CASH                             09/21/2020           eft      13,410.06
General Ledger Entry              Interco CASH                             09/21/2020           eft       1,031.06
General Ledger Entry              Paytronix E-Gift Card Payment            09/21/2020           eft          50.00
General Ledger Entry              Interco CASH                             09/22/2020           eft      28,924.23
General Ledger Entry              Interco CASH                             09/22/2020           eft      13,828.93
General Ledger Entry              Interco CASH                             09/22/2020           eft      13,200.61
General Ledger Entry              Interco CASH                             09/22/2020           eft       8,447.68
General Ledger Entry              Interco CASH                             09/22/2020           eft       8,316.33
General Ledger Entry              Interco CASH                             09/22/2020           eft       6,804.74
General Ledger Entry              Interco CASH                             09/22/2020           eft       5,741.16
General Ledger Entry              Interco CASH                             09/22/2020           eft       4,977.58
General Ledger Entry              Interco CASH                             09/22/2020           eft       4,618.42
General Ledger Entry              Interco CASH                             09/22/2020           eft       2,407.45
General Ledger Entry              Interco CASH                             09/22/2020           eft       2,300.08
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General Ledger Entry                    HCRO ACCIDENT FUND ONLINE PAY           06/04/2020                           17.50
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/04/2020                           17.50
General Ledger Entry                    HCLV ACCIDENT FUND ONLINE PAY           06/04/2020                           17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020        eft                57.95
City of Grand Rapids Income Tax Dept                                             06/05/2020    83545               1,497.00
Kentucky Department of Revenue                                                   06/05/2020    83546               1,216.00
Lexington-Fayette Divis on of Revenue                                            06/05/2020    83547                100.00
General Ledger Entry                    HCBEL ACCIDENT FUND ONLINE PAY          06/05/2020                           17.50
General Ledger Entry                    HCKZ ACCIDENT FUND ONLINE PAY           06/05/2020                           17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY           06/10/2020        eft                80.00
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY           06/10/2020        eft                27.95
General Ledger Entry                    HCEL ACCIDENT FUND ONLINE PAY           06/10/2020                           17.50
General Ledger Entry                    HCLN ACCIDENT FUND ONLINE PAY           06/10/2020                           17.50
General Ledger Entry                    HCAA ACCIDENT FUND ONLINE PAY           06/10/2020                           17.50
Valley C ty Linen                                                                06/16/2020       eft              1,224.21
General Ledger Entry                    HCKC ACCIDENT FUND ONLINE PAY           06/18/2020        eft               686.67
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
Valley C ty Linen                                                                06/29/2020    adj CC               212.00
General Ledger Entry                    VISA PAYMENT 402884XXXXX7816            08/03/2020        eft   3,773.78
Omega :Yeast Labs                                                                08/06/2020    83734                642.00
General Ledger Entry                    Reversed -- GORDON FOOD SERV AR PAYMENT 008/15/2020       eft                11.75
City of Detro t                                                                  08/19/2020    83797     173.00
The Lock Up Storage Centers                                                      08/19/2020    83817                227.60
787 Networks                                                                     08/26/2020    83823     497.70
D-C Elevator Co., Inc.                                                           09/03/2020    83863                271.86
Draftex                                                                          09/03/2020    83864     104.96
Carlin, Edwards, Brown PLLC                                                      09/10/2020    83889     128.00
State Street Area Association                                                    09/10/2020    83911     200.00
Arrowaste Inc.                                                                   09/16/2020    83917               1,238.48
Arrowaste Inc.                                                                   09/16/2020    83918               1,052.46
Arrowaste Inc.                                                                   09/16/2020    83919                461.77
Arrowaste Inc.                                                                   09/16/2020    83920                877.76
City of Kalamazoo                                                                09/16/2020    83921    1,446.13
Comcast                                                                          09/16/2020    83922     483.05
Cozzini Bros Inc                                                                 09/16/2020    83923     167.50
CTS Telecom Inc                                                                  09/16/2020    83924     239.95
ECOLAB                                                                           09/16/2020    83925     793.98
Ecolab Pest Elim Div                                                             09/16/2020    83926      60.03
FedEx                                                                            09/16/2020    83927      18.10
Great America Financial Services                                                 09/16/2020    83928     387.43
Integr ty Business Solutions                                                     09/16/2020    83929      80.48
Keg Logistics LLC                                                                09/16/2020    83930     756.00
Midwest Cutlery Service                                                          09/16/2020    83931      27.00
TDS                                                                              09/16/2020    83932     492.94
TDS                                                                              09/16/2020    83933     534.82
Uribe Refuse Serv ces                                                            09/16/2020    83934      85.00
Waste Management of Michigan                                                     09/16/2020    83935    1,027.46
Wisely Inc.                                                                      09/16/2020    83936    1,897.40
ECOLAB                                                                           09/17/2020    83937    1,400.29
Ecolab Pest Elim Div                                                             09/17/2020    83938     300.00
Gordon Food Service                                                              09/21/2020       eft    162.13
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Gordon Food Service                                                                09/21/2020       eft    4,293.77
Gordon Food Service                                                                09/21/2020       eft    1,754.41
Gordon Food Service                                                                09/21/2020       eft      53.75
Gordon Food Service                                                                09/21/2020       eft    1,355.46
Gordon Food Service                                                                09/21/2020       eft    3,120.13
Gordon Food Service                                                                09/21/2020       eft     162.13
Gordon Food Service                                                                09/21/2020       eft    6,508.93
Gordon Food Service                                                                09/22/2020       eft    2,033.80
General Ledger Entry                      Paytronix E-Gift Card Payment - refund   09/22/2020       eft     150.00
Gordon Food Service                                                                09/22/2020       eft    5,891.45
Gordon Food Service                                                                09/22/2020       eft    5,570.34
Gordon Food Service                                                                09/22/2020       eft    5,014.70
Gordon Food Service                                                                09/22/2020       eft    6,667.75
Gordon Food Service                                                                09/22/2020       eft    4,515.61
Gordon Food Service                                                                09/22/2020       eft    8,056.29
Gordon Food Service                                                                09/22/2020       eft    3,763.13
Valley C ty Linen                                                                  09/22/2020       eft    1,448.47
Gordon Food Service                                                                09/22/2020       eft    8,637.13
Gordon Food Service                                                                09/22/2020       eft    2,487.58
Gordon Food Service                                                                09/22/2020       eft    7,578.00
Gordon Food Service                                                                09/23/2020       eft      34.70
General Ledger Entry                      Interco CASH                             09/23/2020       eft      82.00
Enviro-Master of West Michigan                                                     09/23/2020       eft     869.96
Gordon Food Service                                                                09/23/2020       eft     319.93
Gordon Food Service                                                                09/23/2020       eft      53.97
Gordon Food Service                                                                09/23/2020       eft      42.84
General Ledger Entry                      PNC, Chemical and US Bank Transfer       09/23/2020       eft   50,000.00
Advantage Water Cond. Inc.                                                         09/23/2020     83939                134.46
Allied Universal Technology Services                                               09/23/2020     83940                420.00
AT_T                                                                               09/23/2020     83941                248.13
Bills Lock Shop Inc                                                                09/23/2020     83942                 65.00
Bright House Networks                                                              09/23/2020     83943                592.31
City of East Lansing                                                               09/23/2020     83944                950.00
Comcast                                                                            09/23/2020     83945                238.35
Comcast                                                                            09/23/2020     83946                740.21
Cozzini Bros Inc                                                                   09/23/2020     83947                179.00
DIRECTV                                                                            09/23/2020     83948                304.99
ECOLAB                                                                             09/23/2020     83949                387.74
ECOLAB Food Safety Specialties                                                     09/23/2020     83950                237.43
Ecolab Pest Elim Div                                                               09/23/2020     83951                144.21
FedEx                                                                              09/23/2020     83952                107.18
Hoekstra Electrical Serv ces                                                       09/23/2020     83953                458.00
Humid ty Controls LLC                                                              09/23/2020     83954                 60.00
Integr ty Business Solutions                                                       09/23/2020     83955     561.35
Kidwell, Inc.                                                                      09/23/2020     83956                233.66
Lincoln Nat onal Life Insurance Company                                            09/23/2020     83957                700.00
Midwest Cutlery Service                                                            09/23/2020     83958                 27.00
Roto-Rooter                                                                        09/23/2020     83959                350.00
Roto-Rooter Services Company                                                       09/23/2020     83960                342.40
Sierra Lawn Care LLC                                                               09/23/2020     83961               1,892.44
Star 2 Star Communications LLC                                                     09/23/2020     83962                108.26
TDS                                                                                09/23/2020     83963                497.54
Tech Masters Inc.                                                                  09/23/2020     83964                371.39
West Michigan Document Shredding LLC                                               09/23/2020     83965                 60.00
Airgas USA LLC - Rental                   BILLPMT                                  09/23/2020   ######      717.26
                                                                                                  ###
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Boss Business Solutions            BILLPMT                                    09/23/2020    ######        634.81
Boston Square                      BILLPMT                                    09/23/2020    ######        176.00
                                                                                              ###
Domant Property Services           BILLPMT                                    09/23/2020    ######        837.89
Dover Grease Traps, Inc.           BILLPMT                                    09/23/2020    ######       1,681.50
Grand Rap ds Graphix               BILLPMT                                    09/23/2020    ######        432.00
                                                                                              ###
ID Watchdog, Inc.                  BILLPMT                                    09/23/2020    ######        183.15
Indeed Inc                         BILLPMT                                    09/23/2020    ######        100.00
Insite Business Solutions          BILLPMT                                    09/23/2020    ######          19.73
                                                                                              ###
My Green Michigan LLC              BILLPMT                                    09/23/2020    ######        464.50
NuCO2                              BILLPMT                                    09/23/2020    ######        197.36
                                                                                              ###
Premier Building Maintenance       BILLPMT                                    09/23/2020    ######       3,700.50
                                                                                              ###
R. L. Schrieber                    BILLPMT                                    09/23/2020    ######       1,034.11
Rotella's Italian Bakery, Inc.     BILLPMT                                    09/23/2020    ######        265.77
                                                                                              ###
Swept Away                         BILLPMT                                    09/23/2020    ######       2,345.00
Timothy Gauthier                   BILLPMT                                    09/23/2020    ######       1,380.00
Town Center Inc.                   BILLPMT                                    09/23/2020    ######       4,847.75
                                                                                              ###
Unifirst Corporation - Lincoln     BILLPMT                                    09/23/2020    ######        357.44
General Ledger Entry               PNC, Chemical and US Bank Transfer         09/24/2020         0      10,000.00
General Ledger Entry               PNC, Chemical and US Bank Transfer         09/24/2020         0      20,000.00
Gordon Food Service                                                           09/24/2020        eft      5,149.17
Gordon Food Service                                                           09/24/2020        eft      2,268.26
Gordon Food Service                                                           09/24/2020        eft      7,168.74
Gordon Food Service                                                           09/24/2020        eft      5,180.87
Gordon Food Service                                                           09/24/2020        eft      3,325.96
Gordon Food Service                                                           09/24/2020        eft      4,923.66
Gordon Food Service                                                           09/24/2020        eft      1,935.98
Gordon Food Service                                                           09/24/2020        eft      3,049.73
Gordon Food Service                                                           09/24/2020        eft      4,990.11
Enviro-Master of West Michigan                                                09/24/2020        eft       546.90
General Ledger Entry               Interco CASH                               09/24/2020        eft      1,308.22
General Ledger Entry               PNC, Chemical and US Bank Transfer         09/24/2020        eft     10,000.00
General Ledger Entry               PNC, Chemical and US Bank Transfer         09/24/2020        eft    125,000.00
General Ledger Entry               Dept of Financia WI DFI ECk WS2EFIXXXXX6711 09/24/2020       eft         40.00
General Ledger Entry               VISA PAYMENT 402884XXXXX7816               09/24/2020        eft      2,663.43
Gordon Food Service                                                           09/24/2020        eft      4,079.24
Gordon Food Service                                                           09/24/2020        eft      4,623.82
Av dXchange Inc.                   BILLPMT                                    09/24/2020    ######       3,414.30
Gordon Food Service                                                           09/25/2020        eft       293.61
General Ledger Entry               CONTRIBUTE AEGON USA                      809/25/2020        eft      2,393.13
Gordon Food Service                                                           09/25/2020        eft         72.58
ASR Health Benefits                                                           09/25/2020        eft     16,211.95
Gordon Food Service                                                           09/25/2020        eft       396.32
Total Checks and Charges                                                                              404,675.46    50,832.37
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                                                    Return Service Requested                                         Page:             1 of 5
                                                                                                                     Statement Date: 09/30/2020
                                                                                                                     Primary Account: XXXXXX4123
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 08/31/20 to 09/30/20
MGMCSTMTN 201001-09750-0001




                                                                                                                     E
                                                            9 VOLT LLC                                        <T> 30-0
                                                            DBA HOPCAT                                               0
                                                            OPERATING                                                0
                                                            35 OAKES ST SW STE 400
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX4123
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits       Total Debits
                                  08/31/20              0.00                     09/30/20        0.00          267,332.21 (137)    267,332.21 (66)


                              CREDITS
                              Date Description                                                                                             Amount
                              09/01   Postmates Inc. 1010 Aug 3 St-S2p9x3v4j0q8                                                               34.84
                              09/01   American Express Settlement XXXXXX6973                                                                 568.72
                              09/01   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                 1,022.40
                              09/01   Doordash, Inc. 25 Ionia A St-N6f5q6o7e8h3                                                            3,216.25
                              09/02   Postmates Inc. 1010 Aug 3 St-F6k8s4r2b5n4                                                               99.27
                              09/02   American Express Settlement XXXXXX6973                                                                 362.27
                              09/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   502.09
                              09/02   Doordash, Inc. 25 Ionia A St-W3e9m5r7p8z5                                                            1,514.82
                              09/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,418.52
                              09/03   Postmates Inc. 1010 Sep 1 St-J1d2r8c3y8r1                                                              115.31
                              09/03   American Express Settlement XXXXXX6973                                                                 191.08
                              09/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   479.75
                              09/03   Doordash, Inc. 25 Ionia A St-M8w4t2u6n6w3                                                            1,498.61
                              09/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         5,079.64
                              09/04   Postmates Inc. 1010 Sep 2 St-R3p5r4w1t4j4                                                              109.63
                              09/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   296.70
                              09/04   American Express Settlement XXXXXX6973                                                                 439.19
                              09/04   Doordash, Inc. 25 Ionia A St-H5x6d8y3d9n5                                                            1,238.06
                              09/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,243.92
                              09/08   Postmates Inc. 1010 Sep 3 St-P8a1u4y6j7i6                                                               22.23
                              09/08   Postmates Inc. 1010 Sep 4 St-O7s5f7k6y2b2                                                               73.01
                              09/08   Postmates Inc. 1010 Sep 5 St-Q3d3o9c0f6j8                                                              147.70
                              09/08   American Express Settlement XXXXXX6973                                                                 205.42
                              09/08   Postmates Inc. 1010 Sep 6 St-L0o7n2l3h2s6                                                              216.54
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   314.31
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   386.57
                              09/08   American Express Settlement XXXXXX6973                                                                 470.95
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   639.68
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   674.58
                              09/08   Doordash, Inc. 25 Ionia A St-U2b0b1g9d1n1                                                              997.88
                              09/08   American Express Settlement XXXXXX6973                                                               1,201.76
                              09/08   Doordash, Inc. 25 Ionia A St-Z2g6x5q9p3p3                                                            2,972.89
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         5,431.69
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                                           Case:20-01947-jwb         Doc #:408-1 Filed: 12/01/2020              Page 35 of 74
                                                                             9 VOLT LLC                               Page:            3 of 5
                                                                             DBA HOPCAT
                                                                             OPERAT NG                                Statement Date: 09/30/2020
                                                                             35 OAKES ST SW STE 400                   Primary Account: XXXXXX4123
                                                                             GRAND RAP DS, MI 49503




                               CREDITS (Continued)
MGMCSTMTN 201001-09750-0003




                              Date Description                                                                                          Amount
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      6,035.46
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,422.78
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      8,126.29
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     12,584.73
                              09/22   Postmates Inc. 1010 Sep 2 St-L7p6t0r6i6t5                                                            78.00
                              09/22   American Express Settlement XXXXXX6973                                                              434.40
                              09/22   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                905.05
                              09/22   Doordash, Inc. 25 Ionia A St-C0a8t4e0z2o7                                                         3,200.97
                              09/23   Postmates Inc. 1010 Sep 2 St-G8h7z0q0z3y2                                                            11.87
                              09/23   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                500.99
                              09/23   Doordash, Inc. 25 Ionia A St-P3n9v9s0g0j7                                                         1,636.39
                              09/24   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                140.49
                              09/24   Postmates Inc. 1010 Sep 2 St-A3w3h0l6g0e0                                                           155.68
                              09/24   American Express Settlement XXXXXX6973                                                              738.23
                              09/24   Doordash, Inc. 25 Ionia A St-S0k4c1p7c4j1                                                         1,256.34
                              09/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,823.20
                              09/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,016.49
                              09/25   Postmates Inc. 1010 Sep 2 St-A0r4r0w7q4z3                                                           118.52
                              09/25   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                246.67
                              09/25   American Express Settlement XXXXXX6973                                                              316.29
                              09/25   Doordash, Inc. 25 Ionia A St-W5d3d5j6s2v4                                                         1,119.85
                              09/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,244.63
                              09/28   Postmates Inc. 1010 Sep 2 St-D1z0z0h2j6g8                                                            28.38
                              09/28   Postmates Inc. 1010 Sep 2 St-G8k0w9w5y0j6                                                            71.51
                              09/28   Postmates Inc. 1010 Sep 2 St-T0v1x7j5b9y9                                                           189.42
                              09/28   American Express Settlement XXXXXX6973                                                              239.86
                              09/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                278.33
                              09/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                310.07
                              09/28   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                492.05
                              09/28   American Express Settlement XXXXXX6973                                                              696.80
                              09/28   Doordash, Inc. 25 Ionia A St-T5c3t6z7d5u5                                                           910.13
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,495.92
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      7,914.09
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      8,043.72
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                     12,966.55
                              09/29   Postmates Inc. 1010 Sep 2 St-G2n4y2r0o3u0                                                            34.21
                              09/29   American Express Settlement XXXXXX6973                                                              288.33
                              09/29   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                694.32
                              09/29   Doordash, Inc. 25 Ionia A St-M7e6w4d9v8n3                                                         4,027.24
                              09/29   Transfer From Coml Analysis Ck Account                                                            8,853.66
                              09/30   Postmates Inc. 1010 Sep 2 St-B7m6l0j0w3x4                                                            71.25
                              09/30   American Express Settlement XXXXXX6973                                                              340.46
                              09/30   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                436.80
                              09/30   Doordash, Inc. 25 Ionia A St-D1q5d6f6k7s4                                                         1,625.59
                              09/30   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,654.03

                               CHECKS
                               Date      Check No     Amount          Date         Check No           Amount   Date      Check No     Amount
                              09/29       12730      13,090.46
                              * Indicates a Gap in Check Number Sequence
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                                                                          9 VOLT LLC                              Page:            4 of 5
                                                                          DBA HOPCAT
                                                                          OPERAT NG                               Statement Date: 09/30/2020
                                                                          35 OAKES ST SW STE 400                  Primary Account: XXXXXX4123
                                                                          GRAND RAP DS, MI 49503




                              DEBITS
MGMCSTMTN 201001-09750-0004




                              Date Description                                                                                      Amount
                              09/01   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                Hop                               50.82
                              09/01   Red Tap Draught Sale                                                                            450.00
                              09/01   Imperial Beverag Fintecheft XX-XXX1129                                                          729.25
                              09/01   Transfer To Coml Analysis Ck Account                                                          3,612.14
                              09/02   Transfer To Coml Analysis Ck Account                                                          6,896.97
                              09/03   M4 C.i.c, Llc Fintecheft XX-XXX1129                                                             210.00
                              09/03   Henry A. Fox Sal Fintecheft XX-XXX1129                                                          250.96
                              09/03   West Side Beer D Fintecheft XX-XXX1129                                                          595.00
                              09/03   Alliance Beverag Fintecheft XX-XXX1129                                                        2,105.80
                              09/03   Transfer To Coml Analysis Ck Account                                                          4,202.63
                              09/04   Imperial Beverag Fintecheft XX-XXX1129                                                          952.80
                              09/04   Transfer To Coml Analysis Ck Account                                                          1,810.64
                              09/04   Mthchgs Worldpay Merch Bankcard           Hopcat                                              3,564.06
                              09/08   Billng Vantiv_intg_pymt Merch Bankcard        Hopcat Grand Rapids - Ecomm                       405.93
                              09/08   Restaurant Techn Eft Draft                                                                      941.09
                              09/08   Transfer To Coml Analysis Ck Account                                                         40,052.58
                              09/09   Fintech.net Fintecheft XX-XXX1129                                                                37.32
                              09/09   State Of Michgwl Liquorsale #xxxxx4980                                                          182.06
                              09/09   Imperial Beverag Fintecheft XX-XXX1129                                                          388.60
                              09/09   Olo - Help@olo.c Purchase Denise Willison                                                     1,135.03
                              09/09   Transfer To Coml Analysis Ck Account                                                          7,833.92
                              09/10   West Side Beer D Fintecheft XX-XXX1129                                                          824.80
                              09/10   State Of Michnws Liquorsale #xxxxx8139                                                        1,001.82
                              09/10   Alliance Beverag Fintecheft XX-XXX1129                                                        1,597.95
                              09/10   Transfer To Coml Analysis Ck Account                                                          1,703.60
                              09/11   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                Hop                               63.23
                              09/11   Imperial Beverag Fintecheft XX-XXX1129                                                          782.60
                              09/11   Transfer To Coml Analysis Ck Account                                                          5,291.19
                              09/14   Transfer To Coml Analysis Ck Account                                                         36,532.08
                              09/15   Commercial Service Charge                                                                        91.92
                              09/15   Henry A. Fox Sal Fintecheft XX-XXX1129                                                          239.74
                              09/15   Alliance Beverag Fintecheft XX-XXX1129                                                          317.90
                              09/15   Transfer To Coml Analysis Ck Account                                                          4,129.56
                              09/16   Red Tap Draught Sale                                                                            450.00
                              09/16   Transfer To Coml Analysis Ck Account                                                          5,296.70
                              09/17   West Side Beer D Fintecheft XX-XXX1129                                                            8.60
                              09/17   M4 C.i.c, Llc Fintecheft XX-XXX1129                                                             175.00
                              09/17   Imperial Beverag Fintecheft XX-XXX1129                                                          675.60
                              09/17   Alliance Beverag Fintecheft XX-XXX1129                                                          878.50
                              09/17   Transfer To Coml Analysis Ck Account                                                          5,406.33
                              09/18   West Side Beer D Fintecheft XX-XXX1129                                                          239.00
                              09/18   Support Positive Solutio 1/11/12-12/1/12                                                        333.72
                              09/18   Imperial Beverag Fintecheft XX-XXX1129                                                          483.90
                              09/18   Henry A. Fox Sal Fintecheft XX-XXX1129                                                          618.70
                              09/18   Transfer To Coml Analysis Ck Account                                                          5,023.23
                              09/21   Restaurant Techn Eft Draft 220593                                                               674.03
                              09/21   Transfer To Coml Analysis Ck Account                                                         37,478.13
                              09/22   Transfer To Coml Analysis Ck Account                                                          4,618.42
                              09/23   American Express Collection XXXXXX6973                                                            7.00
                              09/23   State Of Michnws Liquorsale #xxxxx6458                                                          582.96
                              09/23   Transfer To Coml Analysis Ck Account                                                          1,559.29
                              09/24   State Of Michgwl Liquorsale #xxxxx6995                                                          208.29
                              09/24   Henry A. Fox Sal Fintecheft XX-XXX1129                                                          218.00
                              09/24   Imperial Beverag Fintecheft XX-XXX1129                                                          363.90
                              09/24   West Side Beer D Fintecheft XX-XXX1129                                                          512.00
                              09/24   Alliance Beverag Fintecheft XX-XXX1129                                                          914.00
                              09/24   Transfer To Coml Analysis Ck Account                                                          9,914.24
                              09/25   Comb. Exc. 5/3 Bankcard Sys Worldpay Comb. Exc.                Hop                               51.15
                              09/25   Transfer To Coml Analysis Ck Account                                                          5,994.81
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                                                                           9 VOLT LLC                            Page:            5 of 5
                                                                           DBA HOPCAT
                                                                           OPERAT NG                             Statement Date: 09/30/2020
                                                                           35 OAKES ST SW STE 400                Primary Account: XXXXXX4123
                                                                           GRAND RAP DS, MI 49503




                              DEBITS (Continued)
MGMCSTMTN 201001-09750-0005




                              Date Description                                                                                     Amount
                              09/28   Transfer To Coml Analysis Ck Account                                                        36,636.83
                              09/29   Alliance Beverag Fintecheft XX-XXX1129                                                         357.30
                              09/29   Red Tap Draught Sale                                                                           450.00
                              09/30   State Of Michgwl Liquorsale #xxxxx8208                                                         302.63
                              09/30   State Of Michnws Liquorsale #xxxxx6077                                                         640.64
                              09/30   Transfer To Coml Analysis Ck Account                                                         4,184.86

                              DAILY BALANCE
                                Date                  Balance            Date                       Balance   Date            Balance
                                 09/01                                   09/02                                09/03
                                 09/04                                   09/15                                09/23
                                 09/08                                   09/16                                09/24
                                 09/09                                   09/17                                09/25
                                 09/10                                   09/18                                09/28
                                 09/11                                   09/21                                09/29
                                 09/14                                   09/22                                09/30
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                                       BarFly Ventures
                                     Reconciliation Report
                                                As Of 09/27/2020
                                    Account: Checking - HopCat Operating
Statement Ending Balance                                                                                        0.00

Deposits in Transit                                                                                        37,371.22

Outstanding Checks and Charges                                                                            -13,090.46

Adjusted Bank Balance                                                                                      24,280.76



Book Balance                                                                                               24,280.76

Adjustments*                                                                                                    0.00

Adjusted Book Balance                                                                                      24,280.76




                            Total Checks and Charges Cleared        248,685.56 Total Deposits Cleared     248,685.56




Deposits
Name                        Memo                                   Date            Doc No      Cleared     In Transit

General Ledger Entry        AMEX                                   07/26/2020                                 297.00

General Ledger Entry        WORLD PAY - OLO AMEX                   07/26/2020                                  36.86

General Ledger Entry        WORLD PAY - OLO AMEX                   07/30/2020                    36.63

General Ledger Entry        DoorDash Sales HCGR 09.04.20           08/04/2020                  1,238.06

General Ledger Entry        WORLD PAY - OLO AMEX                   08/05/2020                    67.15

General Ledger Entry        AMEX                                   08/08/2020                   303.33

General Ledger Entry        WORLD PAY - OLO AMEX                   08/08/2020                                  33.88

General Ledger Entry        WORLD PAY - OLO AMEX                   08/11/2020                                  12.99

General Ledger Entry        AMEX                                   08/13/2020                   155.02

General Ledger Entry        AMEX                                   08/14/2020                                 152.88

General Ledger Entry        WORLDPAY                               08/14/2020                                6,342.52

General Ledger Entry        AMEX                                   08/21/2020                   298.83

General Ledger Entry        AMEX                                   08/22/2020                   769.99

General Ledger Entry        AMEX                                   08/24/2020                   406.16

General Ledger Entry        AMEX                                   08/25/2020                   271.65

General Ledger Entry        AMEX                                   08/26/2020                   138.87

General Ledger Entry        WORLD PAY - OLO AMEX                   08/26/2020                                  33.66

General Ledger Entry        WORLD PAY - OLO TENDER                 08/28/2020                   886.98

General Ledger Entry        WORLD PAY - OLO AMEX                   08/28/2020                    69.65

General Ledger Entry        WORLDPAY                               08/28/2020                  7,953.76

General Ledger Entry        WORLDPAY                               08/29/2020                 10,960.27

General Ledger Entry        AMEX                                   08/29/2020                   669.16

General Ledger Entry        Correction Entry                       08/30/2020                    76.06
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General Ledger Entry     Correction Entry                     08/30/2020            14.84

General Ledger Entry     WORLDPAY                             08/30/2020          7,698.09

General Ledger Entry     Unknown AMEX Variance HCGR           08/31/2020   eft        3.24

General Ledger Entry     Unknown AMEX Variance HCGR           08/31/2020   eft        3.41

General Ledger Entry     Unknown WORLDPAY Variance HCGR       08/31/2020   eft        1.81

General Ledger Entry     Postmates Sales HCGR 08.31.20        08/31/2020           145.33

General Ledger Entry     DoorDash Sales HCGR 08.31.20         08/31/2020           922.08

General Ledger Entry     Postmates Sales HCGR 08.31.20        08/31/2020           318.48

General Ledger Entry     Postmates Sales HCGR 08.31.20        08/31/2020            47.57

General Ledger Entry     AMEX                                 08/31/2020           375.13

General Ledger Entry     WORLD PAY - OLO TENDER               08/31/2020           479.75

General Ledger Entry     WORLDPAY                             08/31/2020          4,418.52

General Ledger Entry     Unknown AMEX Variance HCGR           09/01/2020   eft        5.69

General Ledger Entry     Postmates Sales HCGR 09.01.20        09/01/2020            34.84

General Ledger Entry     AMEX                                 09/01/2020           197.73

General Ledger Entry     WORLD PAY - OLO TENDER               09/01/2020           296.70

General Ledger Entry     WORLDPAY                             09/01/2020          5,079.64

General Ledger Entry     DoorDash Sales HCGR 09.01.20         09/01/2020          3,216.25

General Ledger Entry     WORLDPAY                             09/02/2020          4,243.92

General Ledger Entry     WORLD PAY - OLO TENDER               09/02/2020           639.68

General Ledger Entry     AMEX                                 09/02/2020           453.87

General Ledger Entry     Postmates Sales HCGR 09.02.20        09/02/2020            99.27

General Ledger Entry     DoorDash Sales HCGR 09.02.20         09/02/2020          1,514.82

General Ledger Entry     Unknown AMEX Variance HCGR           09/03/2020   eft        1.10

General Ledger Entry     Postmates Sales HCGR 09.03.20        09/03/2020           115.31

General Ledger Entry     DoorDash Sales HCGR 09.03.20         09/03/2020          1,498.61

General Ledger Entry     WORLD PAY - OLO TENDER               09/03/2020           314.31

General Ledger Entry     AMEX                                 09/03/2020           211.86

General Ledger Entry     WORLDPAY                             09/03/2020          5,431.69

General Ledger Entry     Unknown AMEX Variance HCGR           09/04/2020   eft        2.39

General Ledger Entry     Postmates Sales HCGR 09.04.20        09/04/2020           109.63

General Ledger Entry     WORLD PAY - OLO AMEX                 09/04/2020                     28.04

General Ledger Entry     AMEX                                 09/04/2020           463.26

General Ledger Entry     WORLD PAY - OLO TENDER               09/04/2020           386.57

General Ledger Entry     WORLDPAY                             09/04/2020          7,118.64

General Ledger Entry     Unknown AMEX Variance HCGR           09/05/2020   eft        0.66

General Ledger Entry     AMEX                                 09/05/2020           751.74

General Ledger Entry     WORLDPAY                             09/05/2020         11,637.04

General Ledger Entry     WORLD PAY - OLO TENDER               09/05/2020           674.58

General Ledger Entry     AMEX                                 09/06/2020           486.97

General Ledger Entry     WORLDPAY                             09/06/2020          8,888.71

General Ledger Entry     WORLD PAY - OLO TENDER               09/06/2020           799.80

General Ledger Entry     WORLDPAY                             09/07/2020          6,936.28

General Ledger Entry     WORLD PAY - OLO AMEX                 09/07/2020                     38.45
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General Ledger Entry     AMEX                                 09/07/2020           280.96

General Ledger Entry     WORLD PAY - OLO TENDER               09/07/2020           456.58

General Ledger Entry     DoorDash Sales HCGR 09.08.20         09/08/2020           997.88

General Ledger Entry     WORLD PAY - OLO AMEX                 09/08/2020            48.81

General Ledger Entry     WORLD PAY - OLO TENDER               09/08/2020           361.17

General Ledger Entry     WORLDPAY                             09/08/2020          2,879.42

General Ledger Entry     DoorDash Sales HCGR 09.08.20         09/08/2020          2,972.89

General Ledger Entry     Postmates Sales HCGR 09.08.20        09/08/2020           147.70

General Ledger Entry     Postmates Sales HCGR 09.08.20        09/08/2020            73.01

General Ledger Entry     Postmates Sales HCGR 09.08.20        09/08/2020            22.23

General Ledger Entry     Postmates Sales HCGR 09.08.20        09/08/2020           216.54

General Ledger Entry     AMEX                                 09/08/2020           332.28

General Ledger Entry     Unknown AMEX Variance HCGR           09/09/2020   eft        4.91

General Ledger Entry     WORLDPAY                             09/09/2020          4,156.61

General Ledger Entry     AMEX                                 09/09/2020           177.27

General Ledger Entry     Postmates Sales HCGR 09.09.20        09/09/2020            61.12

General Ledger Entry     DoorDash Sales HCGR 09.09.20         09/09/2020          1,471.49

General Ledger Entry     WORLD PAY - OLO TENDER               09/09/2020           287.65

General Ledger Entry     DoorDash Sales HCGR 09.10.20         09/10/2020          1,341.23

General Ledger Entry     WORLD PAY - OLO TENDER               09/10/2020           666.96

General Ledger Entry     AMEX                                 09/10/2020                     160.11

General Ledger Entry     WORLDPAY                             09/10/2020          4,391.22

General Ledger Entry     Postmates Sales HCGR 09.10.20        09/10/2020            82.87

General Ledger Entry     Postmates Sales HCGR 09.11.20        09/11/2020            80.80

General Ledger Entry     DoorDash Sales HCGR 09.11.20         09/11/2020          1,398.59

General Ledger Entry     WORLDPAY                             09/11/2020          8,239.56

General Ledger Entry     WORLD PAY - OLO AMEX                 09/11/2020            63.05

General Ledger Entry     AMEX                                 09/11/2020           503.09

General Ledger Entry     WORLD PAY - OLO TENDER               09/11/2020           675.55

General Ledger Entry     WORLD PAY - OLO AMEX                 09/12/2020                      45.08

General Ledger Entry     AMEX                                 09/12/2020           662.23

General Ledger Entry     Postmates Sales HCGR 09.12.20        09/12/2020           244.65

General Ledger Entry     WORLDPAY                             09/12/2020         10,992.74

General Ledger Entry     WORLD PAY - OLO TENDER               09/12/2020           618.42

General Ledger Entry     AMEX                                 09/13/2020                     296.37

General Ledger Entry     WORLD PAY - OLO TENDER               09/13/2020           629.66

General Ledger Entry     WORLDPAY                             09/13/2020          8,055.85

General Ledger Entry     DoorDash Sales HCGR 09.14.20         09/14/2020          1,397.67

General Ledger Entry     AMEX                                 09/14/2020           239.22

General Ledger Entry     WORLD PAY - OLO AMEX                 09/14/2020            15.73

General Ledger Entry     WORLD PAY - OLO TENDER               09/14/2020           476.08

General Ledger Entry     WORLDPAY                             09/14/2020          4,134.03

General Ledger Entry     Postmates Sales HCGR 09.14.20        09/14/2020            56.88

General Ledger Entry     Postmates Sales HCGR 09.14.20        09/14/2020           137.98
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General Ledger Entry     Unknown AMEX Variance HCGR           09/15/2020   eft        5.51

General Ledger Entry     WORLD PAY - OLO TENDER               09/15/2020           286.66

General Ledger Entry     AMEX                                 09/15/2020           259.73

General Ledger Entry     WORLDPAY                             09/15/2020          4,636.34

General Ledger Entry     Postmates Sales HCGR 09.15.20        09/15/2020           169.71

General Ledger Entry     DoorDash Sales HCGR 09.15.20         09/15/2020          3,704.52

General Ledger Entry     WORLD PAY - OLO TENDER               09/16/2020           393.21

General Ledger Entry     AMEX                                 09/16/2020           435.24

General Ledger Entry     WORLDPAY                             09/16/2020          4,379.76

General Ledger Entry     Postmates Sales HCGR 09.16.20        09/16/2020            51.93

General Ledger Entry     DoorDash Sales HCGR 09.16.20         09/16/2020           684.86

General Ledger Entry     WORLD PAY - OLO TENDER               09/17/2020           368.64

General Ledger Entry     Postmates Sales HCGR 09.17.20        09/17/2020           144.12

General Ledger Entry     DoorDash Sales HCGR 09.17.20         09/17/2020          1,640.46

General Ledger Entry     WORLDPAY                             09/17/2020          6,035.46

General Ledger Entry     AMEX                                 09/17/2020                     141.69

General Ledger Entry     WORLD PAY - OLO AMEX                 09/17/2020                     117.26

General Ledger Entry     WORLD PAY - OLO TENDER               09/18/2020           693.63

General Ledger Entry     WORLD PAY - OLO AMEX                 09/18/2020            58.55

General Ledger Entry     AMEX                                 09/18/2020           372.39

General Ledger Entry     WORLDPAY                             09/18/2020          7,422.78

General Ledger Entry     DoorDash Sales HCGR 09.18.20         09/18/2020          1,438.87

General Ledger Entry     Postmates Sales HCGR 09.18.20        09/18/2020           172.42

General Ledger Entry     AMEX                                 09/19/2020           537.40

General Ledger Entry     WORLDPAY                             09/19/2020         12,584.73

General Ledger Entry     WORLD PAY - OLO TENDER               09/19/2020           902.27

General Ledger Entry     AMEX                                 09/20/2020           339.40

General Ledger Entry     WORLDPAY                             09/20/2020          8,126.29

General Ledger Entry     WORLD PAY - OLO TENDER               09/20/2020           504.99

General Ledger Entry     WORLD PAY - OLO AMEX                 09/20/2020           110.28

General Ledger Entry     Unknown AMEX Variance HCGR           09/21/2020   eft        1.51

General Ledger Entry     AMEX                                 09/21/2020           257.08

General Ledger Entry     WORLD PAY - OLO TENDER               09/21/2020           140.49

General Ledger Entry     Postmates Sales HCGR 09.21.20        09/21/2020           159.12

General Ledger Entry     WORLDPAY                             09/21/2020          5,016.49

General Ledger Entry     Postmates Sales HCGR 09.21.20        09/21/2020            77.89

General Ledger Entry     DoorDash Sales HCGR 09.21.20         09/21/2020          1,031.20

General Ledger Entry     Postmates Sales HCGR 09.21.20        09/21/2020            73.83

General Ledger Entry     Unknown WORLDPAY Variance HCGR       09/22/2020   eft        2.78

General Ledger Entry     WORLDPAY                             09/22/2020          4,823.20

General Ledger Entry     DoorDash Sales HCGR 09.22.20         09/22/2020          3,200.97

General Ledger Entry     Postmates Sales HCGR 09.22.20        09/22/2020            78.00

General Ledger Entry     AMEX                                 09/22/2020           506.77

General Ledger Entry     WORLD PAY - OLO TENDER               09/22/2020           325.61
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General Ledger Entry          AMEX                                 09/23/2020                   283.97

General Ledger Entry          WORLD PAY - OLO TENDER               09/23/2020                   310.07

General Ledger Entry          WORLDPAY                             09/23/2020                  4,244.63

General Ledger Entry          Postmates Sales HCGR 09.23.20        09/23/2020                    11.87

General Ledger Entry          DoorDash Sales HCGR 09.23.20         09/23/2020                  1,636.39

General Ledger Entry          WORLD PAY - OLO AMEX                 09/23/2020                                   43.29

General Ledger Entry          Unknown AMEX Variance HCGR           09/24/2020         eft          3.57

General Ledger Entry          WORLDPAY                             09/24/2020                  4,495.92

General Ledger Entry          AMEX                                 09/24/2020                   181.16

General Ledger Entry          Postmates Sales HCGR 09.24.20        09/24/2020                   155.68

General Ledger Entry          DoorDash Sales HCGR 09.24.20         09/24/2020                  1,256.34

General Ledger Entry          WORLD PAY - OLO AMEX                 09/24/2020                                   67.16

General Ledger Entry          WORLD PAY - OLO TENDER               09/24/2020                                  278.33

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/25/2020         eft          7.45

General Ledger Entry          Unknown AMEX Variance HCGR           09/25/2020         eft          1.73

General Ledger Entry          WORLD PAY - OLO TENDER               09/25/2020                   480.51

General Ledger Entry          AMEX                                 09/25/2020                   269.64

General Ledger Entry          DoorDash Sales HCGR 09.25.20         09/25/2020                  1,119.85

General Ledger Entry          WORLDPAY                             09/25/2020                                8,043.72

General Ledger Entry          Postmates Sales HCGR 09.25.20        09/25/2020                   118.52

General Ledger Entry          WORLD PAY - OLO AMEX                 09/26/2020                                   23.30

General Ledger Entry          WORLD PAY - OLO TENDER               09/26/2020                   694.42

General Ledger Entry          AMEX                                 09/26/2020                   427.99

General Ledger Entry          WORLDPAY                             09/26/2020                               12,966.55

General Ledger Entry          AMEX                                 09/27/2020                                  297.99

General Ledger Entry          WORLD PAY - OLO TENDER               09/27/2020                   436.80

General Ledger Entry          WORLDPAY                             09/27/2020                                7,914.09

Total Deposits                                                                              248,685.56     37,371.22




Checks and Charges
Name                          Memo                                Date          Check No       Cleared    Outstanding

General Ledger Entry          Interco CASH                         08/31/2020         eft     36,930.18

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/01/2020         eft          4.00

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/01/2020         eft          0.97

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/01/2020         eft          4.34

General Ledger Entry          Interco CASH                         09/01/2020         eft      3,612.14

Imperial Beverage                                                  09/01/2020        EFT        729.25

Red Tap Solutions                                                  09/01/2020        EFT        450.00

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/01/2020         eft          4.67

General Ledger Entry          Unknown WORLDPAY Variance HCGR       09/02/2020         eft        50.82

General Ledger Entry          Interco CASH                         09/02/2020         eft      6,896.97

West Side Beer Distributing                                        09/03/2020        EFT        595.00

General Ledger Entry          Unknown AMEX Variance HCGR           09/03/2020         eft          6.65

Henry A. Fox Sales Co.                                             09/03/2020        EFT        250.96
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General Ledger Entry             Interco CASH                                09/03/2020   eft    4,202.63

Alliance Beverage Distributing LLC                                           09/03/2020   EFT    2,105.80

M4 C.I.C. LLC                                                                09/03/2020   EFT     210.00

Imperial Beverage                                                            09/04/2020   EFT     952.80

General Ledger Entry             Unknown WORLDPAY Variance HCGR              09/04/2020   eft      63.23

General Ledger Entry             Interco CASH                                09/04/2020   eft    1,810.64

General Ledger Entry             WorldPay Monthly Charges - P9 2020          09/04/2020   eft    3,564.06

General Ledger Entry             Interco CASH                                09/08/2020   eft   40,052.58

General Ledger Entry             Vantiv Monthly Charges - P9 2020            09/08/2020   eft     405.93

General Ledger Entry             Unknown AMEX Variance HCGR                  09/08/2020   eft        6.44

Restaurant Technologies, Inc                                                 09/08/2020   EFT     941.09

General Ledger Entry             Unknown AMEX Variance HCGR                  09/08/2020   eft        0.92

General Ledger Entry             Interco CASH                                09/09/2020   eft    7,833.92

State of Michigan - MLCC                                                     09/09/2020   EFT     182.06

Imperial Beverage                                                            09/09/2020   EFT     388.60

fintech                                                                      09/09/2020   EFT      37.32

OLO                                                                          09/09/2020   EFT    1,135.03

State of Michigan - MLCC                                                     09/10/2020   EFT    1,001.82

General Ledger Entry             Interco CASH                                09/10/2020   eft    1,703.60

Alliance Beverage Distributing LLC                                           09/10/2020   EFT    1,597.95

General Ledger Entry             Unknown AMEX Variance HCGR                  09/10/2020   eft        4.32

West Side Beer Distributing                                                  09/10/2020   EFT     824.80

Imperial Beverage                                                            09/11/2020   EFT     782.60

General Ledger Entry             Interco CASH                                09/11/2020   eft    5,291.19

General Ledger Entry             Unknown AMEX Variance HCGR                  09/11/2020   eft        5.92

General Ledger Entry             Unknown WORLDPAY Variance HCGR              09/11/2020   eft        2.61

General Ledger Entry             Unknown WORLDPAY Variance HCGR              09/12/2020   eft        2.90

General Ledger Entry             Interco CASH                                09/14/2020   eft   36,532.08

General Ledger Entry             Unknown WORLDPAY Variance HCGR              09/14/2020   eft        0.01

General Ledger Entry             Unknown AMEX Variance HCGR                  09/14/2020   eft        5.20

General Ledger Entry             Unknown AMEX Variance HCGR                  09/14/2020   eft        0.46

Alliance Beverage Distributing LLC                                           09/15/2020   EFT     317.90

General Ledger Entry             Interco CASH                                09/15/2020   eft    4,129.56

General Ledger Entry             Mercantile Monthly Bank Charges - P9 2020   09/15/2020   eft      91.92

Henry A. Fox Sales Co.                                                       09/15/2020   EFT     239.74

General Ledger Entry             Unknown AMEX Variance HCGR                  09/16/2020   eft        2.09

Red Tap Solutions                                                            09/16/2020   EFT     450.00

General Ledger Entry             Interco CASH                                09/16/2020   eft    5,296.70

Alliance Beverage Distributing LLC                                           09/17/2020   EFT     878.50

General Ledger Entry             Interco CASH                                09/17/2020   eft    5,406.33

West Side Beer Distributing                                                  09/17/2020   EFT        8.60

Imperial Beverage                                                            09/17/2020   EFT     675.60

General Ledger Entry             Unknown AMEX Variance HCGR                  09/17/2020   eft        8.70

M4 C.I.C. LLC                                                                09/17/2020   EFT     175.00
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Michigan Dept of Treasury                                                         09/17/2020     12730                  13,090.46

West Side Beer Distributing                                                       09/18/2020       EFT       239.00

General Ledger Entry             Unknown AMEX Variance HCGR                       09/18/2020       eft          0.16

Henry A. Fox Sales Co.                                                            09/18/2020       EFT       618.70

General Ledger Entry             Interco CASH                                     09/18/2020       eft      5,023.23

General Ledger Entry             Positive Solutions Support - Monthly Transact on P 09/18/2020     eft       333.72

Imperial Beverage                                                                 09/18/2020       EFT       483.90

General Ledger Entry             Unknown AMEX Variance HCGR                       09/21/2020       eft        19.65

General Ledger Entry             Interco CASH                                     09/21/2020       eft     37,478.13

Restaurant Technologies, Inc                                                      09/21/2020       EFT       674.03

General Ledger Entry             Interco CASH                                     09/22/2020       eft      4,618.42

State of Michigan - MLCC                                                          09/23/2020       EFT       582.96

General Ledger Entry             Unknown WORLDPAY Variance HCGR                   09/23/2020       eft          2.10

General Ledger Entry             Interco CASH                                     09/23/2020       eft      1,559.29

General Ledger Entry             Unknown AMEX Variance HCGR                       09/23/2020       eft          3.78

General Ledger Entry             AMEX Collection                                  09/23/2020                    7.00

Alliance Beverage Distributing LLC                                                09/24/2020       EFT       914.00

West Side Beer Distributing                                                       09/24/2020       EFT       512.00

Imperial Beverage                                                                 09/24/2020       EFT       363.90

State of Michigan - MLCC                                                          09/24/2020       EFT       208.29

Henry A. Fox Sales Co.                                                            09/24/2020       EFT       218.00

General Ledger Entry             Interco CASH                                     09/24/2020       eft      9,914.24

General Ledger Entry             Unknown WORLDPAY Variance HCGR                   09/25/2020       eft        51.15

General Ledger Entry             Interco CASH                                     09/25/2020       eft      5,994.81

Total Checks and Charges                                                                                 248,685.56    13,090.46
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                                                      Return Service Requested                                                    Page:             1 of 4
                                                                                                                                  Statement Date: 09/30/2020
                                                                                                                                  Primary Account: XXXXXX4115
                                                                           07001
                                                                                                                                  Documents:       0

                                                                                                                                  Period: 08/31/20 to 09/30/20
MGMCSTMTN 201001-09749-0001




                                                                                                                                  E
                                                              50 AMP FUSE, LLC                                             <T> 30-0
                                                              DBA STELLA'S LOUNGE                                                 0
                                                              OPERATING                                                           0
                                                              35 OAKES ST SW STE 400
                                                              GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                                    Account: XXXXXX4115
                               Last Statement       Previous Balance        This Statement            Current Balance        Total Credits            Total Debits
                                  08/31/20                0.00                     09/30/20                0.00             169,526.17 (104)         169,526.17 (59)


                              DEPOSITS
                               Reference     Date         Amount             Reference        Date         Amount            Reference       Date         Amount

                                             09/30               186.00                       09/30               302.00                     09/30              48.00



                              CREDITS
                              Date Description                                                                                                               Amount
                              09/01   Stellas Lounge - Cn      St-J0q6e3p7e6v8                                                                                 231.56
                              09/01   American Express Settlement XXXXXX7013                                                                                   310.71
                              09/01   Postmates Inc. 53 Commerc St-D6u2z5l5x2k7                                                                                594.53
                              09/01   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           4,514.08
                              09/02   American Express Settlement XXXXXX7013                                                                                    50.86
                              09/02   Stellas Lounge - Cn      St-G0k1c2l2d8l2                                                                                 142.22
                              09/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           3,505.15
                              09/03   American Express Settlement XXXXXX7013                                                                                    31.92
                              09/03   Stellas Lounge - Cn      St-U3g8o7y9f7d6                                                                                 161.91
                              09/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           2,738.23
                              09/04   Stellas Lounge - Cn      St-C4f6n0c5v1m9                                                                                 118.34
                              09/04   American Express Settlement XXXXXX7013                                                                                   259.13
                              09/04   Grubhub Inc Aug Actvty          _2r_tku                                                                                  698.40
                              09/04   Doordash, Inc. Commerce A St-I9g9p7f4x7q8                                                                              2,573.61
                              09/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           3,136.88
                              09/08   American Express Settlement XXXXXX7013                                                                                   161.53
                              09/08   Stellas Lounge - Cn      St-X0j5j9k9v9k5                                                                                 235.34
                              09/08   Stellas Lounge - Cn      St-Z6g6e7b9g4k7                                                                                 241.24
                              09/08   Stellas Lounge - Cn      St-M8z3i8a3q5c9                                                                                 279.88
                              09/08   Stellas Lounge - Cn      St-D3r6b2q2y8q2                                                                                 317.56
                              09/08   American Express Settlement XXXXXX7013                                                                                   373.97
                              09/08   American Express Settlement XXXXXX7013                                                                                   413.41
                              09/08   Postmates Inc. 53 Commerc St-C7g0y0e8a1h0                                                                                651.77
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           3,742.30
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           5,364.30
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                                           6,829.67
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                                                                         50 AMP FUSE, LLC             Page:            2 of 4
                                                                         DBA STELLA'S LOUNGE
                                                                         OPERAT NG                    Statement Date: 09/30/2020
                                                                         35 OAKES ST SW STE 400       Primary Account: XXXXXX4115
                                                                         GRAND RAP DS, MI 49503




                              CREDITS (Continued)
MGMCSTMTN 201001-09749-0002




                              Date Description                                                                          Amount
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      8,414.50
                              09/09   American Express Settlement XXXXXX7013                                              113.07
                              09/09   Stellas Lounge - Cn      St-A2w5a6e0f2y9                                            545.38
                              09/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      5,162.81
                              09/10   American Express Settlement XXXXXX7013                                               47.05
                              09/10   Stellas Lounge - Cn      St-P2c0r7a8u6u8                                            405.39
                              09/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,181.67
                              09/11   American Express Settlement XXXXXX7013                                               56.02
                              09/11   Stellas Lounge - Cn      St-U8x2e6b5j4w7                                             86.97
                              09/11   Grubhub Inc Sep Actvty          _2r_tku                                             716.74
                              09/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,185.08
                              09/11   Doordash, Inc. Commerce A St-Q6u4g6g6u9x8                                         3,767.23
                              09/14   American Express Settlement XXXXXX7013                                              124.41
                              09/14   Stellas Lounge - Cn      St-S7m9s2v3y1a2                                            291.80
                              09/14   Stellas Lounge - Cn      St-T0a5v9j2y0i7                                            343.40
                              09/14   American Express Settlement XXXXXX7013                                              668.09
                              09/14   Stellas Lounge - Cn      St-Y9v7t6f1r5a9                                            797.14
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,965.85
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      5,877.80
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      6,745.98
                              09/15   Postmates Inc. 53 Commerc St-P5o7n9n0s9l0                                           118.15
                              09/15   American Express Settlement XXXXXX7013                                              287.35
                              09/15   Stellas Lounge - Cn      St-M4g5l7i2v1l1                                            317.24
                              09/15   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,260.29
                              09/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                         10.34
                              09/16   American Express Settlement XXXXXX7013                                               22.75
                              09/16   Stellas Lounge - Cn      St-I6b8v2k4c4e4                                            123.84
                              09/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,573.76
                              09/17   American Express Settlement XXXXXX7013                                               95.05
                              09/17   Stellas Lounge - Cn      St-F5o6j1d9a5k0                                            282.87
                              09/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,343.41
                              09/18   Stellas Lounge - Cn      St-K4f5v7d4z2d8                                            306.71
                              09/18   American Express Settlement XXXXXX7013                                              314.68
                              09/18   Grubhub Inc Sep Actvty          _2r_tku                                             925.61
                              09/18   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,149.96
                              09/18   Doordash, Inc. Commerce A St-Q2x7d9v7e2f1                                         3,435.63
                              09/21   American Express Settlement XXXXXX7013                                              271.88
                              09/21   Stellas Lounge - Cn      St-H3n2b0j0q6u9                                            353.11
                              09/21   Stellas Lounge - Cn      St-A4m1g6j4v4x2                                            477.61
                              09/21   Stellas Lounge - Cn      St-V8z2d1o4s9d8                                            585.91
                              09/21   American Express Settlement XXXXXX7013                                              628.97
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,763.88
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      7,618.28
                              09/21   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      8,750.01
                              09/22   American Express Settlement XXXXXX7013                                              111.20
                              09/22   Stellas Lounge - Cn      St-X8q3a8d7j2p2                                            291.53
                              09/22   Postmates Inc. 53 Commerc St-R9j1i7y2q7e1                                           744.59
                              09/22   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      4,650.41
                              09/23   American Express Settlement XXXXXX7013                                              135.78
                              09/23   Stellas Lounge - Cn      St-Y6y6q6a9s4c2                                            183.89
                              09/23   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      3,032.35
                              09/24   American Express Settlement XXXXXX7013                                              138.38
                              09/24   Stellas Lounge - Cn      St-T6q2f8y5x1q7                                            219.93
                              09/24   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,092.56
                              09/25   American Express Settlement XXXXXX7013                                              160.14
                              09/25   Stellas Lounge - Cn      St-B6w4a7a9g2v3                                            259.84
                              09/25   Grubhub Inc Sep Actvty          _2r_tku                                             717.75
                              09/25   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      2,694.63
                              09/25   Doordash, Inc. Commerce A St-U4c1w5a5r0x6                                         3,362.68
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                                                                             50 AMP FUSE, LLC                         Page:            3 of 4
                                                                             DBA STELLA'S LOUNGE
                                                                             OPERAT NG                                Statement Date: 09/30/2020
                                                                             35 OAKES ST SW STE 400                   Primary Account: XXXXXX4115
                                                                             GRAND RAP DS, MI 49503




                               CREDITS (Continued)
MGMCSTMTN 201001-09749-0003




                              Date Description                                                                                          Amount
                              09/28   American Express Settlement XXXXXX7013                                                              141.40
                              09/28   Stellas Lounge - Cn      St-V6z8z1d8n1a7                                                            232.76
                              09/28   Stellas Lounge - Cn      St-N7t7b6e8h0f7                                                            456.36
                              09/28   American Express Settlement XXXXXX7013                                                              596.12
                              09/28   Stellas Lounge - Cn      St-Q2b8d4t4u8q5                                                            848.26
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,804.80
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      5,698.74
                              09/28   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      8,802.95
                              09/29   American Express Settlement XXXXXX7013                                                              373.61
                              09/29   Stellas Lounge - Cn      St-V5x2g2l6h9i7                                                            378.77
                              09/29   Postmates Inc. 53 Commerc St-P8o4o8p2l5c1                                                           509.39
                              09/29   Transfer From Coml Analysis Ck Account 4100234777                                                 4,349.29
                              09/29   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      4,472.66
                              09/30   American Express Settlement XXXXXX7013                                                               34.74
                              09/30   Stellas Lounge - Cn      St-L5z1q0q9i6g3                                                            124.59
                              09/30   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                      2,177.90

                               CHECKS
                               Date      Check No      Amount         Date         Check No           Amount   Date      Check No     Amount
                              09/29       42925        8,382.34
                              * Indicates a Gap in Check Number Sequence

                               DEBITS
                              Date Description                                                                                          Amount
                              09/01   Alliance Beverag Fintecheft XX-XXX3684                                                              108.50
                              09/01   Red Tap Draught Sale                                                                                275.00
                              09/01   Transfer To Coml Analysis Ck Account                                                              5,267.38
                              09/02   State Of Michgwl Liquorsale #xxxxx4805                                                              182.73
                              09/02   State Of Michgwl Liquorsale #xxxxx7027                                                              367.02
                              09/02   State Of Michnws Liquorsale #xxxxx2732                                                              381.85
                              09/02   Transfer To Coml Analysis Ck Account                                                              2,766.63
                              09/03   Chownow                                                                                             149.00
                              09/03   Transfer To Coml Analysis Ck Account                                                              2,783.06
                              09/04   Mthchgs Worldpay Merch Bankcard             Stellas Lounge                                        2,545.17
                              09/04   Transfer To Coml Analysis Ck Account                                                              4,241.19
                              09/08   Imperial Beverag Fintecheft XX-XXX3684                                                              116.00
                              09/08   Transfer To Coml Analysis Ck Account                                                             26,909.47
                              09/09   Fintech.net Fintecheft XX-XXX3684                                                                    37.32
                              09/09   Henry A. Fox Sal Fintecheft XX-XXX3684                                                              190.00
                              09/09   Alliance Beverag Fintecheft XX-XXX3684                                                              250.45
                              09/09   West Side Beer D Fintecheft XX-XXX3684                                                              384.10
                              09/09   State Of Michgwl Liquorsale #xxxxx4814                                                              556.73
                              09/09   State Of Michnws Liquorsale #xxxxx0832                                                              843.62
                              09/09   Transfer To Coml Analysis Ck Account                                                              3,559.04
                              09/10   Transfer To Coml Analysis Ck Account                                                              2,634.11
                              09/11   State Of Michimp Liquorsale #xxxxx3362                                                               92.94
                              09/11   Transfer To Coml Analysis Ck Account                                                              6,719.10
                              09/14   Imperial Beverag Fintecheft XX-XXX3684                                                              300.00
                              09/14   Transfer To Coml Analysis Ck Account                                                             17,514.47
                              09/15   Payment Alliance Eftransact 05-Xcvula                                                                 3.99
                              09/15   State Of Michgwl Liquorsale #xxxxx4931                                                               40.50
                              09/15   Commercial Service Charge                                                                            86.52
                              09/15   State Of Michgwl Liquorsale #xxxxx1948                                                              261.33
                              09/15   Alliance Beverag Fintecheft XX-XXX3684                                                              277.50
                              09/15   West Side Beer D Fintecheft XX-XXX3684                                                              297.20
                              09/15   Henry A. Fox Sal Fintecheft XX-XXX3684                                                              436.00
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                                                                          50 AMP FUSE, LLC                      Page:            4 of 4
                                                                          DBA STELLA'S LOUNGE
                                                                          OPERAT NG                             Statement Date: 09/30/2020
                                                                          35 OAKES ST SW STE 400                Primary Account: XXXXXX4115
                                                                          GRAND RAP DS, MI 49503




                              DEBITS (Continued)
MGMCSTMTN 201001-09749-0004




                              Date Description                                                                                    Amount
                              09/15   Transfer To Coml Analysis Ck Account                                                          983.77
                              09/15   State Of Michnws Liquorsale #xxxxx2333                                                      1,596.22
                              09/16   Transfer To Coml Analysis Ck Account                                                        2,730.69
                              09/17   Red Tap Draught Sale                                                                          275.00
                              09/17   Transfer To Coml Analysis Ck Account                                                        2,446.33
                              09/18   Support Positive Solutio 5/1/12-4/1/13                                                        250.88
                              09/18   Transfer To Coml Analysis Ck Account                                                        7,881.71
                              09/21   Imperial Beverag Fintecheft XX-XXX3684                                                        503.00
                              09/21   Transfer To Coml Analysis Ck Account                                                       20,946.65
                              09/22   West Side Beer D Fintecheft XX-XXX3684                                                        132.00
                              09/22   Henry A. Fox Sal Fintecheft XX-XXX3684                                                        145.40
                              09/22   Alliance Beverag Fintecheft XX-XXX3684                                                        542.75
                              09/22   Transfer To Coml Analysis Ck Account                                                        4,977.58
                              09/23   Transfer To Coml Analysis Ck Account                                                        3,352.02
                              09/24   Transfer To Coml Analysis Ck Account                                                        2,450.87
                              09/25   Imperial Beverag Fintecheft XX-XXX3684                                                        450.00
                              09/25   Transfer To Coml Analysis Ck Account                                                        6,745.04
                              09/28   Transfer To Coml Analysis Ck Account                                                       19,581.39
                              09/29   West Side Beer D Fintecheft XX-XXX3684                                                        159.60
                              09/29   Red Tap Draught Sale                                                                          275.00
                              09/29   Henry A. Fox Sal Fintecheft XX-XXX3684                                                        310.15
                              09/29   Alliance Beverag Fintecheft XX-XXX3684                                                        312.40
                              09/29   State Of Michnws Liquorsale #xxxxx4282                                                        644.23
                              09/30   State Of Michgwl Liquorsale #xxxxx8486                                                        103.29
                              09/30   State Of Michgwl Liquorsale #xxxxx9284                                                        772.94
                              09/30   Transfer To Coml Analysis Ck Account                                                        1,997.00

                              DAILY BALANCE
                                Date                  Balance            Date                      Balance   Date            Balance
                                 09/01                                  09/11                                09/22
                                 09/02                                  09/14                                09/23
                                 09/03                                  09/15                                09/24
                                 09/04                                  09/16                                09/25
                                 09/08                                  09/17                                09/28
                                 09/09                                  09/18                                09/29
                                 09/10                                  09/21                                09/30
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                                      BarFly Ventures
                                    Reconciliation Report
                                                  As Of 09/27/2020
                                    Account: Checking - Stella's Operating
Statement Ending Balance                                                                                        0.00

Deposits in Transit                                                                                        24,217.42

Outstanding Checks and Charges                                                                             -8,382.34

Adjusted Bank Balance                                                                                      15,835.08



Book Balance                                                                                               15,835.08

Adjustments*                                                                                                    0.00

Adjusted Book Balance                                                                                      15,835.08




                            Total Checks and Charges Cleared         154,777.74 Total Deposits Cleared    154,777.74




Deposits
Name                        Memo                                     Date           Doc No      Cleared    In Transit

General Ledger Entry        AMEX                                     07/31/2020                  127.83

General Ledger Entry        AMEX                                     08/06/2020                               129.52

General Ledger Entry        AMEX                                     08/15/2020                  317.19

General Ledger Entry        AMEX                                     08/18/2020                               129.20

General Ledger Entry        CASH DEPOSIT                             08/26/2020                               765.00

General Ledger Entry        WORLDPAY                                 08/27/2020                3,684.77

General Ledger Entry        WORLDPAY                                 08/28/2020                4,956.74

General Ledger Entry        WORLDPAY                                 08/29/2020                7,594.37

General Ledger Entry        AMEX                                     08/29/2020                  417.18

General Ledger Entry        WORLDPAY                                 08/30/2020                4,514.08

General Ledger Entry        AMEX                                     08/31/2020                   52.55

General Ledger Entry        WORLDPAY                                 08/31/2020                3,505.15

General Ledger Entry        Unknown AMEX Variance STELLAS            09/01/2020         eft        3.46

General Ledger Entry        Unknown AMEX Variance STELLAS            09/01/2020         eft        2.95

General Ledger Entry        AMEX                                     09/01/2020                   33.09

General Ledger Entry        CHOWNOW Sales Entry Stellas              09/01/2020                8,412.12

General Ledger Entry        WORLDPAY                                 09/01/2020                2,738.23

General Ledger Entry        Postmates Sales Stellas 09.01.20         09/01/2020                  594.53

General Ledger Entry        AMEX                                     09/02/2020                  268.12

General Ledger Entry        WORLDPAY                                 09/02/2020                3,136.88

General Ledger Entry        Unknown AMEX Variance STELLAS            09/03/2020         eft        8.31

General Ledger Entry        WORLDPAY                                 09/03/2020                3,742.30

General Ledger Entry        AMEX                                     09/03/2020                  166.96
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General Ledger Entry     GRUBHUB Sales Stellas 09.04.20       09/04/2020          698.40

General Ledger Entry     AMEX                                 09/04/2020          133.89

General Ledger Entry     WORLDPAY                             09/04/2020         6,829.67

General Ledger Entry     DoorDash Sales Stellas 09.04.20      09/04/2020         2,573.61

General Ledger Entry     AMEX                                 09/05/2020          292.93

General Ledger Entry     WORLDPAY                             09/05/2020         8,414.50

General Ledger Entry     WORLDPAY                             09/06/2020         5,364.30

General Ledger Entry     AMEX                                 09/06/2020          387.14

General Ledger Entry     WORLDPAY                             09/07/2020         5,162.81

General Ledger Entry     AMEX                                 09/07/2020          117.14

General Ledger Entry     Postmates Sales Stellas 09.08.20     09/08/2020          651.77

General Ledger Entry     WORLDPAY                             09/08/2020         2,181.67

General Ledger Entry     AMEX                                 09/08/2020           48.75

General Ledger Entry     WORLDPAY                             09/09/2020         2,185.08

General Ledger Entry     AMEX                                 09/09/2020           57.82

General Ledger Entry     WORLDPAY                             09/10/2020         2,965.85

General Ledger Entry     AMEX                                 09/10/2020          128.59

General Ledger Entry     DoorDash Sales Stellas 09.11.20      09/11/2020         3,767.23

General Ledger Entry     GRUBHUB Sales Stellas 09.11.20       09/11/2020          716.74

General Ledger Entry     WORLDPAY                             09/11/2020         5,877.80

General Ledger Entry     AMEX                                 09/11/2020          442.19

General Ledger Entry     WORLDPAY                             09/12/2020         6,756.32

General Ledger Entry     AMEX                                 09/12/2020                    248.73

General Ledger Entry     AMEX                                 09/13/2020                    297.83

General Ledger Entry     WORLDPAY                             09/13/2020         3,260.29

General Ledger Entry     Unknown WORLDPAY Variance STELLAS    09/14/2020   eft     10.34

General Ledger Entry     WORLDPAY                             09/14/2020         2,573.76

General Ledger Entry     AMEX                                 09/14/2020           23.61

General Ledger Entry     Postmates Sales Stellas 09.15.20     09/15/2020          118.15

General Ledger Entry     AMEX                                 09/15/2020           98.14

General Ledger Entry     WORLDPAY                             09/15/2020         2,343.41

General Ledger Entry     Unknown AMEX Variance STELLAS        09/16/2020   eft     22.75

General Ledger Entry     WORLDPAY                             09/16/2020         3,149.96

General Ledger Entry     AMEX                                 09/16/2020          325.59

General Ledger Entry     WORLDPAY                             09/17/2020         2,763.88

General Ledger Entry     AMEX                                 09/17/2020          281.34

General Ledger Entry     WORLDPAY                             09/18/2020         7,618.28

General Ledger Entry     AMEX                                 09/18/2020          166.13

General Ledger Entry     GRUBHUB Sales Stellas 09.18.20       09/18/2020          925.61

General Ledger Entry     DoorDash Sales Stellas 09.18.20      09/18/2020         3,435.63

General Ledger Entry     Unknown AMEX Variance STELLAS        09/19/2020   eft     19.82

General Ledger Entry     AMEX                                 09/19/2020          484.42

General Ledger Entry     WORLDPAY                             09/19/2020         8,750.01

General Ledger Entry     CASH DEPOSIT                         09/20/2020                    186.00
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General Ledger Entry             WORLDPAY                             09/20/2020                  4,650.41

General Ledger Entry             AMEX                                 09/20/2020                   115.23

General Ledger Entry             CASH DEPOSIT                         09/21/2020                                   48.00

General Ledger Entry             AMEX                                 09/21/2020                   140.66

General Ledger Entry             WORLDPAY                             09/21/2020                  3,032.35

General Ledger Entry             WORLDPAY                             09/22/2020                  2,092.56

General Ledger Entry             AMEX                                 09/22/2020                                  143.71

General Ledger Entry             Postmates Sales Stellas 09.22.20     09/22/2020                   744.59

General Ledger Entry             WORLDPAY                             09/23/2020                  2,694.63

General Ledger Entry             AMEX                                 09/23/2020                   165.50

General Ledger Entry             Unknown AMEX Variance STELLAS        09/24/2020         eft          1.89

General Ledger Entry             WORLDPAY                             09/24/2020                                2,804.80

General Ledger Entry             AMEX                                 09/24/2020                                  146.66

General Ledger Entry             AMEX                                 09/25/2020                   272.27

General Ledger Entry             GRUBHUB Sales Stellas 09.25.20       09/25/2020                   717.75

General Ledger Entry             DoorDash Sales Stellas 09.25.20      09/25/2020                  3,362.68

General Ledger Entry             WORLDPAY                             09/25/2020                                5,698.74

General Ledger Entry             AMEX                                 09/26/2020                                  343.62

General Ledger Entry             WORLDPAY                             09/26/2020                                8,802.95

General Ledger Entry             AMEX                                 09/27/2020                   385.09

General Ledger Entry             WORLDPAY                             09/27/2020                                4,472.66

Total Deposits                                                                                 154,777.74     24,217.42




Checks and Charges
Name                             Memo                                 Date         Check No       Cleared    Outstanding

General Ledger Entry             Interco CASH                         08/31/2020         eft     17,538.45

Imperial Beverage                                                     08/31/2020        EFT        150.00

General Ledger Entry             Interco CASH                         09/01/2020         eft      5,267.38

Red Tap Solutions                                                     09/01/2020        EFT        275.00

Alliance Beverage Distributing LLC                                    09/01/2020        EFT        108.50

General Ledger Entry             Unknown AMEX Variance STELLAS        09/01/2020         eft          6.48

State of Michigan - MLCC                                              09/02/2020        EFT        182.73

General Ledger Entry             Unknown AMEX Variance STELLAS        09/02/2020         eft          1.69

State of Michigan - MLCC                                              09/02/2020        EFT        381.85

State of Michigan - MLCC                                              09/02/2020        EFT        367.02

General Ledger Entry             Interco CASH                         09/02/2020         eft      2,766.63

General Ledger Entry             CHOWNOW Sales Entry Stellas          09/02/2020                   149.00

General Ledger Entry             Interco CASH                         09/03/2020         eft      2,783.06

General Ledger Entry             Unknown AMEX Variance STELLAS        09/04/2020         eft          8.99

General Ledger Entry             Unknown AMEX Variance STELLAS        09/04/2020         eft          3.77

General Ledger Entry             Interco CASH                         09/04/2020         eft      4,241.19

General Ledger Entry             WorldPay Monthly Charges - P9 2020   09/04/2020         eft      2,545.17

General Ledger Entry             Unknown AMEX Variance STELLAS        09/08/2020         eft          3.97

Imperial Beverage                                                     09/08/2020        EFT        116.00
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General Ledger Entry             Unknown AMEX Variance STELLAS                    09/08/2020       eft      11.12

General Ledger Entry             Interco CASH                                     09/08/2020       eft   26,909.47

General Ledger Entry             Interco CASH                                     09/09/2020       eft    3,559.04

Alliance Beverage Distributing LLC                                                09/09/2020       EFT     250.45

State of Michigan - MLCC                                                          09/09/2020       EFT     556.73

fintech                                                                           09/09/2020       EFT      37.32

State of Michigan - MLCC                                                          09/09/2020       EFT     843.62

Henry A. Fox Sales Co.                                                            09/09/2020       EFT     190.00

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/09/2020       eft        2.16

West Side Beer Distributing                                                       09/09/2020       EFT     384.10

General Ledger Entry             Interco CASH                                     09/10/2020       eft    2,634.11

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/10/2020       eft        1.70

General Ledger Entry             Interco CASH                                     09/11/2020       eft    6,719.10

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/11/2020       eft        1.80

State of Michigan - MLCC                                                          09/11/2020       EFT      92.94

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/14/2020       eft        0.39

General Ledger Entry             Unknown WORLDPAY Variance STELLAS                09/14/2020       eft      10.34

General Ledger Entry             Interco CASH                                     09/14/2020       eft   17,514.47

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/14/2020       eft        4.18

Imperial Beverage                                                                 09/14/2020       EFT     300.00

General Ledger Entry             Mercantile Monthly Bank Charges - P9 2020        09/15/2020       eft      86.52

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/15/2020       eft        5.58

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/15/2020       eft        3.09

General Ledger Entry             Interco CASH                                     09/15/2020       eft     983.77

Alliance Beverage Distributing LLC                                                09/15/2020       EFT     277.50

State of Michigan - MLCC                                                          09/15/2020       EFT    1,596.22

State of Michigan - MLCC                                                          09/15/2020       EFT     261.33

Henry A. Fox Sales Co.                                                            09/15/2020       EFT     436.00

State of Michigan - MLCC                                                          09/15/2020       EFT      40.50

West Side Beer Distributing                                                       09/15/2020       eft     297.20

General Ledger Entry             Alliance         Stella                          09/15/2020                  3.99

General Ledger Entry             Interco CASH                                     09/16/2020       eft    2,730.69

Red Tap Solutions                                                                 09/17/2020       EFT     275.00

General Ledger Entry             Interco CASH                                     09/17/2020       eft    2,446.33

Michigan Dept of Treasury                                                         09/17/2020     42925               8,382.34

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/18/2020       eft      10.91

General Ledger Entry             Interco CASH                                     09/18/2020       eft    7,881.71

General Ledger Entry             Positive Solutions Support - Monthly Transact on P 09/18/2020             250.88

General Ledger Entry             Interco CASH                                     09/21/2020       eft   20,946.65

Imperial Beverage                                                                 09/21/2020       EFT     503.00

Alliance Beverage Distributing LLC                                                09/22/2020       EFT     542.75

West Side Beer Distributing                                                       09/22/2020       EFT     132.00

Henry A. Fox Sales Co.                                                            09/22/2020       EFT     145.40

General Ledger Entry             Unknown AMEX Variance STELLAS                    09/22/2020       eft        0.39
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General Ledger Entry       Interco CASH                       09/22/2020   eft      4,977.58

General Ledger Entry       Interco CASH                       09/23/2020   eft      3,352.02

General Ledger Entry       Unknown AMEX Variance STELLAS      09/23/2020   eft        16.63

General Ledger Entry       Unknown AMEX Variance STELLAS      09/24/2020   eft         2.28

General Ledger Entry       Interco CASH                       09/24/2020   eft      2,450.87

General Ledger Entry       Unknown AMEX Variance STELLAS      09/25/2020   eft         5.99

General Ledger Entry       Interco CASH                       09/25/2020   eft      6,745.04

Imperial Beverage                                             09/25/2020   EFT       450.00

Total Checks and Charges                                                         154,777.74    8,382.34
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                                                     Return Service Requested                                               Page:             1 of 1
                                                                                                                            Statement Date: 09/30/2020
                                                                                                                            Primary Account: XXXXXX4460
                                                                          07001
                                                                                                                            Documents:       0

                                                                                                                            Period: 08/31/20 to 09/30/20
MGMCSTMTN 201001-09937-0001




                                                                                                                          E
                                                             LUCK OF THE IRISH, LLC                                <T> 30-0
                                                             DBA MCFADDENS RESTAURANT AND                                 0
                                                             SALOON                                                       0
                                                             35 OAKES ST SW STE 400
                                                             GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                               Account: XXXXXX4460
                               Last Statement     Previous Balance         This Statement        Current Balance        Total Credits      Total Debits
                                   08/31/20              0.00                     09/30/20             0.00              334.41 (3)         334.41 (3)


                              CREDITS
                              Date Description                                                                                                   Amount
                              09/04 Transfer From Coml Analysis Ck Account                                                                          27.95
                              09/15 Transfer From Coml Analysis Ck Account                                                                          67.30
                              09/18 Transfer From Coml Analysis Ck Account                                                                         239.16

                              DEBITS
                              Date Description                                                                                                   Amount
                              09/04 Mthchgs Worldpay Merch Bankcard                     Mcfaddens Restaurant And Salo                               27.95
                              09/15 Commercial Service Charge                                                                                       67.30
                              09/18 Support Positive Solutio 11/1/11-10/1/12                                                                       239.16

                              DAILY BALANCE
                                Date                  Balance                   Date                Balance              Date              Balance
                                 09/04                                          09/15                                   09/18
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                                                    Return Service Requested                                        Page:             1 of 3
                                                                                                                    Statement Date: 09/30/2020
                                                                                                                    Primary Account: XXXXXX1069
                                                                         07001
                                                                                                                    Documents:       0

                                                                                                                    Period: 08/31/20 to 09/30/20
MGMCSTMTN 201001-10096-0001




                                                                                                                     E
                                                            GRBC HOLDINGS, LLC                                <T> 30-0
                                                            DBA GRAND RAPIDS BREWING CO                              0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX1069
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits      Total Debits
                                  08/31/20              0.00                     09/30/20        0.00           94,697.23 (90)    94,697.23 (38)


                              CREDITS
                              Date Description                                                                                           Amount
                              09/01   American Express Settlement XXXXXX6957                                                               218.78
                              09/01   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,601.42
                              09/02   Grand Rapids Bre Cn          St-V2n5p5g6c5i4                                                          31.40
                              09/02   American Express Settlement XXXXXX6957                                                               181.31
                              09/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,189.82
                              09/03   Grand Rapids Bre Cn          St-E5o9p8d4o8c4                                                          14.73
                              09/03   American Express Settlement XXXXXX6957                                                               106.04
                              09/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,547.14
                              09/04   American Express Settlement XXXXXX6957                                                               137.35
                              09/04   Doordash, Inc. Ionia Ave St-D0c9n5h7e5i9                                                             154.27
                              09/04   Grubhub Inc Aug Actvty            uo61shk                                                            210.65
                              09/04   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,408.72
                              09/08   American Express Settlement XXXXXX6957                                                                41.23
                              09/08   Grand Rapids Bre Cn          St-V5q4m6w7j8o3                                                          46.43
                              09/08   Grand Rapids Bre Cn          St-M1w8g7e1x7v7                                                          46.96
                              09/08   Grand Rapids Bre Cn          St-K4i0j6a6a5u2                                                          49.53
                              09/08   Postmates Inc. 1 Ionia Av St-J3e7e5c6w9q1                                                             75.59
                              09/08   Grand Rapids Bre Cn          St-F2a0l1t1q2d9                                                         108.61
                              09/08   American Express Settlement XXXXXX6957                                                               269.80
                              09/08   American Express Settlement XXXXXX6957                                                             1,055.28
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       2,101.56
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       3,076.36
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       4,568.77
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       7,311.81
                              09/09   Grand Rapids Bre Cn          St-S6s1y6c8s1b4                                                          99.54
                              09/09   American Express Settlement XXXXXX6957                                                               273.50
                              09/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,126.51
                              09/10   Grand Rapids Bre Cn          St-T8j2x7m2s3y7                                                           9.58
                              09/10   American Express Settlement XXXXXX6957                                                                85.21
                              09/10   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                       1,387.88
                              09/11   American Express Settlement XXXXXX6957                                                                41.35
                              09/11   Doordash, Inc. Ionia Ave St-N9v2s2t2r1s5                                                              74.70
                              09/11   Grand Rapids Bre Cn          St-O0q7e8k3e1r8                                                          85.78
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                                      BarFly Ventures
                                    Reconciliation Report
                                                As Of 09/27/2020
                                      Account: Checking - GRBC Operating
Statement Ending Balance                                                                                   0.00

Deposits in Transit                                                                                   12,143.66

Outstanding Checks and Charges                                                                        -4,666.93

Adjusted Bank Balance                                                                                  7,476.73



Book Balance                                                                                           7,476.73

Adjustments*                                                                                               0.00

Adjusted Book Balance                                                                                  7,476.73




                           Total Checks and Charges Cleared       90,276.95 Total Deposits Cleared    90,276.95




Deposits
Name                       Memo                                  Date           Doc No     Cleared    In Transit

General Ledger Entry       AMEX                                  06/26/2020                  144.61

General Ledger Entry       AMEX                                  08/08/2020                   84.40

General Ledger Entry       AMEX                                  08/13/2020                  142.24

General Ledger Entry       AMEX                                  08/14/2020                              391.87

General Ledger Entry       AMEX                                  08/15/2020                  330.14

General Ledger Entry       AMEX                                  08/18/2020                  295.95

General Ledger Entry       AMEX                                  08/26/2020                              163.44

General Ledger Entry       WORLDPAY                              08/28/2020                3,580.66

General Ledger Entry       WORLDPAY                              08/29/2020                5,605.82

General Ledger Entry       WORLDPAY                              08/30/2020                3,303.36

General Ledger Entry       WORLDPAY                              08/31/2020                1,601.42

General Ledger Entry       AMEX                                  08/31/2020                  187.61

General Ledger Entry       Unknown AMEX Variance GRBC            09/01/2020         eft       18.38

General Ledger Entry       Unknown AMEX Variance GRBC            09/01/2020         eft        4.26

General Ledger Entry       Unknown AMEX Variance GRBC            09/01/2020         eft        6.81

General Ledger Entry       WORLDPAY                              09/01/2020                1,189.82

General Ledger Entry       AMEX                                  09/01/2020                  109.69

General Ledger Entry       CHOWNOW Sales Entry GRBC              09/02/2020                1,584.39

General Ledger Entry       AMEX                                  09/02/2020                  142.13

General Ledger Entry       WORLDPAY                              09/02/2020                1,547.14

General Ledger Entry       AMEX                                  09/03/2020                   42.86

General Ledger Entry       WORLDPAY                              09/03/2020                1,408.72

General Ledger Entry       GRUBHUB Sales GRBC 09.04.20           09/04/2020                  210.65
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General Ledger Entry   AMEX                                 09/04/2020                    238.67

General Ledger Entry   WORLDPAY                             09/04/2020         3,076.36

General Ledger Entry   DoorDash Sales GRBC 09.04.20         09/04/2020          154.27

General Ledger Entry   AMEX                                 09/05/2020          851.95

General Ledger Entry   WORLDPAY                             09/05/2020         7,311.81

General Ledger Entry   AMEX                                 09/06/2020          278.78

General Ledger Entry   WORLDPAY                             09/06/2020         4,568.77

General Ledger Entry   WORLDPAY                             09/07/2020         2,101.56

General Ledger Entry   AMEX                                 09/07/2020          283.43

General Ledger Entry   Unknown AMEX Variance GRBC           09/08/2020   eft     12.44

General Ledger Entry   Postmates Sales GRBC 09.08.20        09/08/2020           75.59

General Ledger Entry   WORLDPAY                             09/08/2020         1,126.51

General Ledger Entry   AMEX                                 09/08/2020           87.96

General Ledger Entry   WORLDPAY                             09/09/2020         1,387.88

General Ledger Entry   AMEX                                 09/09/2020           43.04

General Ledger Entry   Unknown AMEX Variance GRBC           09/10/2020   eft      0.81

General Ledger Entry   AMEX                                 09/10/2020           37.80

General Ledger Entry   WORLDPAY                             09/10/2020         1,320.79

General Ledger Entry   GRUBHUB Sales GRBC 09.11.20          09/11/2020          155.75

General Ledger Entry   Doordash Sales GRBC 09.11.20         09/11/2020           74.70

General Ledger Entry   WORLDPAY                             09/11/2020         3,818.51

General Ledger Entry   AMEX                                 09/11/2020          378.11

General Ledger Entry   WORLDPAY                             09/12/2020         8,205.82

General Ledger Entry   AMEX                                 09/12/2020          607.32

General Ledger Entry   WORLDPAY                             09/13/2020         2,632.72

General Ledger Entry   AMEX                                 09/13/2020                    380.78

General Ledger Entry   Unknown AMEX Variance GRBC           09/14/2020   eft     15.65

General Ledger Entry   AMEX                                 09/14/2020           41.50

General Ledger Entry   WORLDPAY                             09/14/2020         1,679.86

General Ledger Entry   AMEX                                 09/15/2020           73.45

General Ledger Entry   WORLDPAY                             09/15/2020         1,425.67

General Ledger Entry   AMEX                                 09/16/2020          200.40

General Ledger Entry   WORLDPAY                             09/16/2020         1,974.36

General Ledger Entry   WORLDPAY                             09/17/2020         2,297.97

General Ledger Entry   AMEX                                 09/17/2020          146.48

General Ledger Entry   Unknown AMEX Variance GRBC           09/18/2020   eft     28.39

General Ledger Entry   Doordash Sales GRBC 09.18.20         09/18/2020          146.12

General Ledger Entry   GRUBHUB Sales GRBC 09.18.20          09/18/2020          119.85

General Ledger Entry   WORLDPAY                             09/18/2020         4,176.05

General Ledger Entry   AMEX                                 09/18/2020                    163.84

General Ledger Entry   WORLDPAY                             09/19/2020         6,906.46

General Ledger Entry   AMEX                                 09/19/2020          521.72

General Ledger Entry   WORLDPAY                             09/20/2020         3,062.29

General Ledger Entry   AMEX                                 09/20/2020          345.50
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General Ledger Entry    WORLDPAY                              09/21/2020                 2,043.49

General Ledger Entry    AMEX                                  09/21/2020                   43.99

General Ledger Entry    AMEX                                  09/22/2020                  141.60

General Ledger Entry    WORLDPAY                              09/22/2020                 1,401.44

General Ledger Entry    Postmates Sales GRBC 09.22.20         09/22/2020                   29.75

General Ledger Entry    WORLDPAY                              09/23/2020                  232.19

General Ledger Entry    WORLDPAY                              09/24/2020                 1,877.34

General Ledger Entry    AMEX                                  09/24/2020                  165.39

General Ledger Entry    GRUBHUB Sales GRBC 09.25.20           09/25/2020                  117.46

General Ledger Entry    Doordash Sales GRBC 09.25.20          09/25/2020                  188.40

General Ledger Entry    AMEX                                  09/26/2020                  697.34

General Ledger Entry    WORLDPAY                              09/26/2020                               7,621.67

General Ledger Entry    AMEX                                  09/27/2020                   43.10

General Ledger Entry    WORLDPAY                              09/27/2020                               3,183.39

Total Deposits                                                                         90,276.95     12,143.66




Checks and Charges
Name                    Memo                                  Date         Check No      Cleared    Outstanding

General Ledger Entry    Interco CASH                          08/31/2020         eft    13,893.22

General Ledger Entry    Interco CASH                          09/01/2020         eft     1,820.20

General Ledger Entry    Interco CASH                          09/02/2020         eft     1,077.53

General Ledger Entry    Unknown AMEX Variance GRBC            09/02/2020         eft         6.30

Red Tap Solutions                                             09/02/2020        EFT       325.00

General Ledger Entry    Unknown AMEX Variance GRBC            09/03/2020         eft         1.51

General Ledger Entry    Unknown AMEX Variance GRBC            09/03/2020         eft         3.65

General Ledger Entry    Interco CASH                          09/03/2020         eft     1,518.91

General Ledger Entry    CHOWNOW Sales Entry GRBC              09/03/2020                  149.00

General Ledger Entry    WorldPay Monthly Charges - P9 2020    09/04/2020         eft     1,872.44

General Ledger Entry    Unknown AMEX Variance GRBC            09/04/2020         eft         4.25

General Ledger Entry    Interco CASH                          09/04/2020         eft       38.55

General Ledger Entry    Unknown AMEX Variance GRBC            09/06/2020         eft         0.27

Imperial Beverage                                             09/08/2020        EFT       173.90

General Ledger Entry    Unknown AMEX Variance GRBC            09/08/2020         eft         8.98

General Ledger Entry    Interco CASH                          09/08/2020         eft    18,578.03

fintech                                                       09/09/2020        EFT        37.32

General Ledger Entry    Unknown AMEX Variance GRBC            09/09/2020         eft         3.06

General Ledger Entry    Unknown AMEX Variance GRBC            09/09/2020         eft         9.93

General Ledger Entry    Interco CASH                          09/09/2020         eft     1,462.23

General Ledger Entry    Interco CASH                          09/10/2020         eft     1,482.67

General Ledger Entry    Interco CASH                          09/11/2020         eft     1,678.37

General Ledger Entry    Unknown AMEX Variance GRBC            09/11/2020         eft         2.57

General Ledger Entry    Unknown AMEX Variance GRBC            09/14/2020         eft         1.30

Imperial Beverage                                             09/14/2020        EFT       143.90

General Ledger Entry    Interco CASH                          09/14/2020         eft    15,717.85
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General Ledger Entry           Mercantile Monthly Bank Charges - P9 2020        09/15/2020       eft       83.07

State of Michigan - MLCC                                                        09/15/2020       EFT      570.09

State of Michigan - MLCC                                                        09/15/2020       EFT      159.24

General Ledger Entry           Unknown AMEX Variance GRBC                       09/15/2020       eft       10.19

General Ledger Entry           Interco CASH                                     09/15/2020       eft     1,225.39

General Ledger Entry           Alliance 05-V1A5GF GRBC                          09/15/2020                   9.99

General Ledger Entry           Interco CASH                                     09/16/2020       eft     1,497.74

General Ledger Entry           Unknown AMEX Variance GRBC                       09/16/2020       eft         0.73

General Ledger Entry           Interco CASH                                     09/17/2020       eft     1,775.12

Red Tap Solutions                                                               09/17/2020       EFT      325.00

Michigan Dept of Treasury                                                       09/17/2020     33487                4,666.93

General Ledger Entry           Interco CASH                                     09/18/2020       eft     2,402.27

General Ledger Entry           Positive Solutions Support - Monthly Transact on P 09/18/2020     eft      410.00

Restaurant Technologies, Inc                                                    09/21/2020       EFT      365.41

Imperial Beverage                                                               09/21/2020       EFT      151.45

General Ledger Entry           Unknown AMEX Variance GRBC                       09/21/2020       eft         3.07

General Ledger Entry           Unknown AMEX Variance GRBC                       09/21/2020       eft         0.65

General Ledger Entry           Interco CASH                                     09/21/2020       eft    14,681.23

General Ledger Entry           Interco CASH                                     09/22/2020       eft     2,407.45

General Ledger Entry           Interco CASH                                     09/23/2020       eft     1,515.51

General Ledger Entry           Unknown AMEX Variance GRBC                       09/24/2020       eft         5.29

West Side Beer Distributing                                                     09/24/2020       EFT      109.30

General Ledger Entry           Interco CASH                                     09/24/2020       eft      316.92

General Ledger Entry           Interco CASH                                     09/25/2020       eft     2,235.17

General Ledger Entry           Unknown AMEX Variance GRBC                       09/25/2020       eft         5.73

Total Checks and Charges                                                                               90,276.95    4,666.93
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                                                    Return Service Requested                                         Page:             1 of 5
                                                                                                                     Statement Date: 09/30/2020
                                                                                                                     Primary Account: XXXXXX8171
                                                                         07001
                                                                                                                     Documents:       0

                                                                                                                     Period: 08/31/20 to 09/30/20
MGMCSTMTN 201001-10346-0001




                                                                                                                     E
                                                            EL BREWPUB, LLC                                   <T> 30-0
                                                            DBA HOPCAT EAST LANSING                                  0
                                                            35 OAKES ST SW STE 400                                   0
                                                            GRAND RAPIDS, MI 49503




                              COMMERCIAL ANALYSIS CHECKING ACCOUNT                                                       Account: XXXXXX8171
                               Last Statement     Previous Balance        This Statement    Current Balance     Total Credits       Total Debits
                                  08/31/20              0.00                     09/30/20        0.00          244,246.91 (144)    244,246.91 (56)


                              CREDITS
                              Date Description                                                                                             Amount
                              09/01   Postmates Inc. 1050 Aug 3 St-N1i1j8q9j7m9                                                              247.76
                              09/01   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   822.02
                              09/01   American Express Settlement XXXXXX6999                                                               1,056.76
                              09/01   Doordash, Inc. Grove St-H1b4j1m6n1p8                                                                 1,601.21
                              09/01   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         7,651.25
                              09/02   Postmates Inc. 1050 Aug 3 St-Y0o2o3h5w6w6                                                               60.38
                              09/02   American Express Settlement XXXXXX6999                                                                 361.14
                              09/02   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   773.05
                              09/02   Doordash, Inc. Grove St-Y3j6a3g8a3j8                                                                 1,072.02
                              09/02   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         5,381.94
                              09/03   Postmates Inc. 1050 Sep 1 St-S9y0e6r6x8w4                                                               48.75
                              09/03   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   238.73
                              09/03   American Express Settlement XXXXXX6999                                                                 578.61
                              09/03   Doordash, Inc. Grove St-O8e7y8t0w0i9                                                                   730.77
                              09/03   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                                         4,533.93
                              09/04   Postmates Inc. 1050 Sep 2 St-K4b8v0z9i0b5                                                               44.03
                              09/04   American Express Settlement XXXXXX6999                                                                 383.59
                              09/04   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   466.85
                              09/04   Doordash, Inc. Grove St-W3f1l0i4h9t3                                                                   930.44
                              09/04   Grubhub Inc Aug Actvty 20090401tezfwn9                                                               1,053.87
                              09/04   Transfer From Coml Analysis Ck Account                                                               2,126.98
                              09/08   Postmates Inc. 1050 Sep 3 St-I7v4d0v8l5b1                                                               61.07
                              09/08   Postmates Inc. 1050 Sep 6 St-G0f4f1e1g9w5                                                               70.44
                              09/08   Postmates Inc. 1050 Sep 5 St-G7z8f1h5g7z0                                                              111.05
                              09/08   Postmates Inc. 1050 Sep 4 St-S2t1d4j9q9w0                                                              176.33
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   322.02
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   368.15
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   422.87
                              09/08   American Express Settlement XXXXXX6999                                                                 588.36
                              09/08   American Express Settlement XXXXXX6999                                                                 599.89
                              09/08   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                                   622.33
                              09/08   Doordash, Inc. Grove St-T0r7g3f5k5v3                                                                   868.73
                              09/08   American Express Settlement XXXXXX6999                                                               1,090.55
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                                                                          DBA HOPCAT EAST LANS NG
                                                                          35 OAKES ST SW STE 400       Statement Date: 09/30/2020
                                                                          GRAND RAP DS, MI 49503       Primary Account: XXXXXX8171




                              CREDITS (Continued)
MGMCSTMTN 201001-10346-0002




                              Date Description                                                                           Amount
                              09/08   Doordash, Inc. Grove St-K7a9q7p4q0s5                                               2,511.79
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       6,401.07
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       9,282.71
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      10,400.69
                              09/08   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      10,617.55
                              09/09   Postmates Inc. 1050 Sep 7 St-Z3s9n5v5g7h9                                             69.37
                              09/09   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 345.62
                              09/09   Doordash, Inc. Grove St-X1q9i6r9j5h5                                                 629.89
                              09/09   American Express Settlement XXXXXX6999                                             1,020.48
                              09/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       3,609.96
                              09/09   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      10,227.99
                              09/10   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                  90.06
                              09/10   Postmates Inc. 1050 Sep 8 St-Q5x4p9c9s8e7                                             91.73
                              09/10   American Express Settlement XXXXXX6999                                               171.94
                              09/10   Doordash, Inc. Grove St-T0x6x8v0p7q4                                                 687.97
                              09/11   American Express Settlement XXXXXX6999                                               182.11
                              09/11   Postmates Inc. 1050 Sep 9 St-N5r6h2d0i2f2                                            204.05
                              09/11   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 418.91
                              09/11   Doordash, Inc. Grove St-U8m9l5x2u9s8                                                 558.22
                              09/11   Grubhub Inc Sep Actvty            ezfwn9                                           1,419.32
                              09/11   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       3,378.45
                              09/14   Postmates Inc. 1050 Sep 1 St-A2b7f0m2h8i9                                            113.66
                              09/14   Postmates Inc. 1050 Sep 1 St-X0o7o2n5j0j8                                            189.75
                              09/14   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 206.31
                              09/14   Postmates Inc. 1050 Sep 1 St-V7f7c9e4p3f4                                            220.59
                              09/14   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 357.21
                              09/14   American Express Settlement XXXXXX6999                                               366.86
                              09/14   Doordash, Inc. Grove St-G0o5h7o9q9s2                                                 636.99
                              09/14   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 674.85
                              09/14   American Express Settlement XXXXXX6999                                             1,042.09
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       5,024.96
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       5,961.33
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       8,001.39
                              09/14   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                      11,608.83
                              09/15   Postmates Inc. 1050 Sep 1 St-O1a3x1n1k3z4                                            164.52
                              09/15   American Express Settlement XXXXXX6999                                               361.74
                              09/15   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 986.28
                              09/15   Doordash, Inc. Grove St-A4c6f6d1u1i9                                               1,942.05
                              09/16   Postmates Inc. 1050 Sep 1 St-G5q3l6j8n1j6                                            125.90
                              09/16   American Express Settlement XXXXXX6999                                               414.20
                              09/16   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 518.35
                              09/16   Doordash, Inc. Grove St-R2h5z0s0g5l8                                                 994.73
                              09/16   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       3,743.38
                              09/17   Postmates Inc. 1050 Sep 1 St-F1q7b7q8x2d0                                             11.09
                              09/17   American Express Settlement XXXXXX6999                                               155.32
                              09/17   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 242.67
                              09/17   Doordash, Inc. Grove St-Z8f6d8q9k0j1                                                 905.54
                              09/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       2,146.38
                              09/17   Comb. Dep. Worldpay Worldpay Comb. Dep. Term                                       2,552.97
                              09/18   Postmates Inc. 1050 Sep 1 St-N7c9d5k6w2q8                                             55.97
                              09/18   American Express Settlement XXXXXX6999                                                76.76
                              09/18   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 247.45
                              09/18   Doordash, Inc. Grove St-O7y3w4r1q5y5                                                 975.71
                              09/18   Grubhub Inc Sep Actvty 20091816tezfwn9                                             1,059.58
                              09/21   Postmates Inc. 1050 Sep 1 St-E1y6y9e2z2k5                                             89.74
                              09/21   Postmates Inc. 1050 Sep 1 St-L9h4b0h5j4v8                                            208.77
                              09/21   Postmates Inc. 1050 Sep 1 St-M5p4o2f9m6l4                                            220.71
                              09/21   Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term                                 266.68
                              09/21   American Express Settlement XXXXXX6999                                               302.24
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                                                              DBA HOPCAT EAST LANS NG
                                                              35 OAKES ST SW STE 400           Statement Date: 09/30/2020
                                                              GRAND RAP DS, MI 49503           Primary Account: XXXXXX8171




                              DAILY BALANCE
                                Date          Balance        Date                 Balance   Date            Balance
MGMCSTMTN 201001-10346-0005




                               09/01                         09/08                          09/14
                               09/02                         09/09                          09/15
                               09/03                         09/10                          09/16
                               09/04                         09/11                          09/17
                               09/18                         09/23                          09/28
                               09/21                         09/24                          09/29
                               09/22                         09/25                          09/30
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                                             BarFly Ventures
                                           Reconciliation Report
                                                        As Of 09/27/2020
                                       Account: Checking - EL Brewpub Operating
Statement Ending Balance                                                                                                       0.00

Deposits in Transit                                                                                                       38,939.02

Outstanding Checks and Charges                                                                                           -12,484.40

Adjusted Bank Balance                                                                                                     26,454.62



Book Balance                                                                                                              26,454.62

Adjustments*                                                                                                                   0.00

Adjusted Book Balance                                                                                                     26,454.62




                            Total Checks and Charges Cleared                       238,212.25 Total Deposits Cleared     238,212.25




Deposits
Name                        Memo                                                  Date            Doc No       Cleared    In Transit

General Ledger Entry        HCEL RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND O 06/18/2020                                 27.95

General Ledger Entry        AMEX                                                   06/20/2020                   531.80

General Ledger Entry        WORLD PAY - OLO TENDER                                 07/10/2020                                523.71

General Ledger Entry        CASH DEPOSIT                                           07/16/2020                                 43.00

General Ledger Entry        AMEX                                                   08/14/2020                   763.38

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/15/2020                   518.33

General Ledger Entry        AMEX                                                   08/17/2020                                396.46

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/21/2020                                738.53

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/22/2020                                757.94

General Ledger Entry        AMEX                                                   08/24/2020                                858.42

General Ledger Entry        AMEX                                                   08/25/2020                                527.73

General Ledger Entry        WORLDPAY                                               08/27/2020                 6,587.13

General Ledger Entry        AMEX                                                   08/27/2020                 1,701.12

General Ledger Entry        WORLDPAY                                               08/28/2020                 8,967.81

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/28/2020                   685.70

General Ledger Entry        WORLDPAY                                               08/29/2020                12,865.38

General Ledger Entry        WORLDPAY                                               08/30/2020                 9,558.46

General Ledger Entry        WORLD PAY - OLO TENDER                                 08/30/2020                   885.41

General Ledger Entry        AMEX                                                   08/31/2020                   318.24

General Ledger Entry        WORLDPAY                                               08/31/2020                 7,619.25

General Ledger Entry        DoorDash Sales HCEL 08.31.20                           08/31/2020                   685.73

General Ledger Entry        Postmates Sales HCEL 08.31.20                          08/31/2020                    71.61

General Ledger Entry        Postmates Sales HCEL 08.31.20                          08/31/2020                    78.44
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General Ledger Entry     WORLD PAY - OLO TENDER                      08/31/2020              286.46

General Ledger Entry     Postmates Sales HCEL 08.31.20               08/31/2020               50.28

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/01/2020      eft      32.00

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/01/2020      eft      29.36

General Ledger Entry     Unknown AMEX Variance HCEL                  09/01/2020      eft        6.32

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/01/2020      eft      32.39

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/01/2020      eft      11.08

General Ledger Entry     AMEX                                        09/01/2020                        547.36

General Ledger Entry     WORLD PAY - OLO TENDER                      09/01/2020                        518.00

General Ledger Entry     WORLDPAY                                    09/01/2020             5,381.94

General Ledger Entry     Postmates Sales HCEL 09.01.20               09/01/2020              247.76

General Ledger Entry     DoorDash Sales HCEL 09.01.20                09/01/2020             1,601.21

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/02/2020      eft        9.67

General Ledger Entry     WORLD PAY - OLO TENDER                      09/02/2020              322.02

General Ledger Entry     Postmates Sales HCEL 09.02.20               09/02/2020               60.38

General Ledger Entry     AMEX                                        09/02/2020              396.94

General Ledger Entry     WORLDPAY                                    09/02/2020             4,533.93

General Ledger Entry     DoorDash Sales HCEL 09.02.20                09/02/2020             1,072.02

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/03/2020      eft      16.52

General Ledger Entry     Unknown AMEX Variance HCEL                  09/03/2020      eft        9.05

General Ledger Entry     DoorDash Sales HCEL 09.03.20                09/03/2020              730.77

General Ledger Entry     AMEX                                        09/03/2020              569.56

General Ledger Entry     WORLD PAY - OLO TENDER                      09/03/2020              462.12

General Ledger Entry     WORLDPAY                                    09/03/2020             6,401.07

General Ledger Entry     Postmates Sales HCEL 09.03.20               09/03/2020               48.75

General Ledger Entry     Unknown AMEX Variance HCEL                  09/04/2020      eft        5.06

General Ledger Entry     Interco CASH                                09/04/2020      eft    2,126.98

General Ledger Entry     WORLD PAY - OLO TENDER                      09/04/2020                        390.94

General Ledger Entry     Postmates Sales HCEL 09.04.20               09/04/2020               44.03

General Ledger Entry     GRUBHUB Sales HCEL 09.04.20                 09/04/2020             1,053.87

General Ledger Entry     DoorDash Sales HCEL 09.04.20                09/04/2020              930.44

General Ledger Entry     AMEX                                        09/04/2020              361.84

General Ledger Entry     WORLDPAY                                    09/04/2020             9,282.71

General Ledger Entry     AMEX                                        09/05/2020              721.10

General Ledger Entry     WORLDPAY                                    09/05/2020            10,617.55

General Ledger Entry     WORLD PAY - OLO TENDER                      09/05/2020                        738.89

General Ledger Entry     AMEX                                        09/06/2020              620.33

General Ledger Entry     WORLDPAY                                    09/06/2020            10,400.69

General Ledger Entry     WORLD PAY - OLO TENDER                      09/06/2020              345.62

General Ledger Entry     AMEX                                        09/07/2020             1,054.24

General Ledger Entry     WORLDPAY                                    09/07/2020            10,227.99

General Ledger Entry     WORLD PAY - OLO TENDER                      09/07/2020               90.06

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/08/2020      eft        4.42

General Ledger Entry     Unknown AMEX Variance HCEL                  09/08/2020      eft      36.35
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General Ledger Entry     Postmates Sales HCEL 09.08.20               09/08/2020               61.07

General Ledger Entry     DoorDash Sales HCEL 09.08.20                09/08/2020             2,511.79

General Ledger Entry     Postmates Sales HCEL 09.08.20               09/08/2020              176.33

General Ledger Entry     WORLD PAY - OLO TENDER                      09/08/2020              434.28

General Ledger Entry     DoorDash Sales HCEL 09.08.20                09/08/2020              868.73

General Ledger Entry     AMEX                                        09/08/2020              162.96

General Ledger Entry     Postmates Sales HCEL 09.08.20               09/08/2020               70.44

General Ledger Entry     Postmates Sales HCEL 09.08.20               09/08/2020              111.05

General Ledger Entry     WORLDPAY                                    09/08/2020             3,609.96

General Ledger Entry     Unknown AMEX Variance HCEL                  09/09/2020      eft      55.60

General Ledger Entry     WORLDPAY                                    09/09/2020             3,378.45

General Ledger Entry     Postmates Sales HCEL 09.09.20               09/09/2020               69.37

General Ledger Entry     DoorDash Sales HCEL 09.09.20                09/09/2020              629.89

General Ledger Entry     WORLD PAY - OLO TENDER                      09/09/2020              357.21

General Ledger Entry     AMEX                                        09/09/2020              188.54

General Ledger Entry     Unknown AMEX Variance HCEL                  09/10/2020      eft        8.98

General Ledger Entry     AMEX                                        09/10/2020              363.73

General Ledger Entry     WORLD PAY - OLO TENDER                      09/10/2020              222.21

General Ledger Entry     WORLDPAY                                    09/10/2020             5,024.96

General Ledger Entry     Postmates Sales HCEL 09.10.20               09/10/2020               91.73

General Ledger Entry     DoorDash Sales HCEL 09.10.20                09/10/2020              687.97

General Ledger Entry     Unknown AMEX Variance HCEL                  09/11/2020      eft      21.16

General Ledger Entry     WORLDPAY                                    09/11/2020             8,001.39

General Ledger Entry     WORLD PAY - OLO TENDER                      09/11/2020              710.82

General Ledger Entry     Postmates Sales HCEL 09.11.20               09/11/2020              204.05

General Ledger Entry     DoorDash Sales HCEL 09.11.20                09/11/2020              558.22

General Ledger Entry     AMEX                                        09/11/2020                        692.98

General Ledger Entry     GRUBHUB Sales HCEL 09.11.20                 09/11/2020             1,419.32

General Ledger Entry     AMEX                                        09/12/2020              349.70

General Ledger Entry     WORLDPAY                                    09/12/2020            11,608.83

General Ledger Entry     WORLD PAY - OLO TENDER                      09/12/2020              986.28

General Ledger Entry     AMEX                                        09/13/2020              340.84

General Ledger Entry     WORLD PAY - OLO TENDER                      09/13/2020              552.01

General Ledger Entry     WORLDPAY                                    09/13/2020             5,961.33

General Ledger Entry     Unknown AMEX Variance HCEL                  09/14/2020      eft      17.16

General Ledger Entry     Unknown AMEX Variance HCEL                  09/14/2020      eft        2.75

General Ledger Entry     WORLDPAY                                    09/14/2020             3,743.38

General Ledger Entry     WORLD PAY - OLO TENDER                      09/14/2020              292.76

General Ledger Entry     AMEX                                        09/14/2020              378.53

General Ledger Entry     Postmates Sales HCEL 09.14.20               09/14/2020              220.59

General Ledger Entry     Postmates Sales HCEL 09.14.20               09/14/2020              189.75

General Ledger Entry     Postmates Sales HCEL 09.14.20               09/14/2020              113.66

General Ledger Entry     DoorDash Sales HCEL 09.13.20                09/14/2020              636.99

General Ledger Entry     Unknown AMEX Variance HCEL                  09/15/2020      eft      20.90
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General Ledger Entry     AMEX                                        09/15/2020             160.95

General Ledger Entry     WORLDPAY                                    09/15/2020            2,146.38

General Ledger Entry     WORLD PAY - OLO TENDER                      09/15/2020             247.45

General Ledger Entry     Postmates Sales HCEL 09.15.20               09/15/2020             164.52

General Ledger Entry     DoorDash Sales HCEL 09.15.20                09/15/2020            1,942.05

General Ledger Entry     Unknown AMEX Variance HCEL                  09/16/2020      eft     17.26

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/16/2020      eft       0.02

General Ledger Entry     Unknown AMEX Variance HCEL                  09/16/2020      eft     76.76

General Ledger Entry     WORLD PAY - OLO TENDER                      09/16/2020             266.68

General Ledger Entry     Postmates Sales HCEL 09.16.20               09/16/2020             125.90

General Ledger Entry     WORLDPAY                                    09/16/2020            2,552.97

General Ledger Entry     AMEX                                        09/16/2020              79.47

General Ledger Entry     DoorDash Sales HCEL 09.16.20                09/16/2020             994.73

General Ledger Entry     Unknown AMEX Variance HCEL                  09/17/2020      eft    114.42

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/17/2020      eft       1.56

General Ledger Entry     WORLD PAY - OLO TENDER                      09/17/2020             689.27

General Ledger Entry     WORLDPAY                                    09/17/2020            4,886.25

General Ledger Entry     Postmates Sales HCEL 09.17.20               09/17/2020              11.09

General Ledger Entry     AMEX                                        09/17/2020             312.46

General Ledger Entry     DoorDash Sales HCEL 09.17.20                09/17/2020             905.54

General Ledger Entry     Postmates Sales HCEL 09.18.20               09/18/2020              55.97

General Ledger Entry     GRUBHUB Sales HCEL 09.18.20                 09/18/2020            1,059.58

General Ledger Entry     WORLDPAY                                    09/18/2020            5,885.11

General Ledger Entry     WORLD PAY - OLO TENDER                      09/18/2020            1,336.79

General Ledger Entry     DoorDash Sales HCEL 09.18.20                09/18/2020             975.71

General Ledger Entry     AMEX                                        09/18/2020                       539.55

General Ledger Entry     WORLDPAY                                    09/19/2020             906.14

General Ledger Entry     AMEX                                        09/19/2020              40.90

General Ledger Entry     WORLD PAY - OLO TENDER                      09/19/2020             609.58

General Ledger Entry     AMEX                                        09/20/2020             297.15

General Ledger Entry     WORLD PAY - OLO TENDER                      09/20/2020             436.54

General Ledger Entry     WORLDPAY                                    09/20/2020            6,662.13

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/21/2020      eft       6.33

General Ledger Entry     Unknown AMEX Variance HCEL                  09/21/2020      eft       9.57

General Ledger Entry     Unknown AMEX Variance HCEL                  09/21/2020      eft       4.42

General Ledger Entry     Postmates Sales HCEL 09.21.20               09/21/2020             208.77

General Ledger Entry     WORLDPAY                                    09/21/2020            3,432.69

General Ledger Entry     WORLD PAY - OLO TENDER                      09/21/2020             297.82

General Ledger Entry     AMEX                                        09/21/2020             217.53

General Ledger Entry     Postmates Sales HCEL 09.21.20               09/21/2020              89.74

General Ledger Entry     Postmates Sales HCEL 09.21.20               09/21/2020             220.71

General Ledger Entry     DoorDash Sales HCEL 09.21.20                09/21/2020             756.07

General Ledger Entry     Unknown WORLDPAY Variance HCEL              09/22/2020      eft       0.40

General Ledger Entry     Unknown AMEX Variance HCEL                  09/22/2020      eft       4.81
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General Ledger Entry      WORLD PAY - OLO TENDER                                 09/22/2020                      484.33

General Ledger Entry      WORLDPAY                                               09/22/2020                     4,093.12

General Ledger Entry      AMEX                                                   09/22/2020                      155.94

General Ledger Entry      Postmates Sales HCEL 09.22.20                          09/22/2020                      131.83

General Ledger Entry      DoorDash Sales HCEL 09.22.20                           09/22/2020                     2,066.17

General Ledger Entry      Unknown WORLDPAY Variance HCEL                         09/23/2020            eft          0.18

General Ledger Entry      AMEX                                                   09/23/2020                      241.11

General Ledger Entry      WORLD PAY - OLO TENDER                                 09/23/2020                      511.33

General Ledger Entry      WORLDPAY                                               09/23/2020                     3,378.21

General Ledger Entry      DoorDash Sales HCEL 09.23.20                           09/23/2020                     1,310.94

General Ledger Entry      Postmates Sales HCEL 09.23.20                          09/23/2020                      179.75

General Ledger Entry      Interco CASH                                           09/24/2020            eft      1,308.22

General Ledger Entry      WORLD PAY - OLO TENDER                                 09/24/2020                      405.20

General Ledger Entry      AMEX                                                   09/24/2020                      285.53

General Ledger Entry      DoorDash Sales HCEL 09.24.20                           09/24/2020                     1,038.39

General Ledger Entry      Postmates Sales HCEL 09.24.20                          09/24/2020                      110.51

General Ledger Entry      WORLDPAY                                               09/24/2020                                   4,662.65

General Ledger Entry      GRUBHUB Sales HCEL 09.25.20                            09/25/2020                     1,152.67

General Ledger Entry      DoorDash Sales HCEL 09.24.20                           09/25/2020                      838.64

General Ledger Entry      WORLD PAY - OLO TENDER                                 09/25/2020                      938.21

General Ledger Entry      AMEX                                                   09/25/2020                      257.65

General Ledger Entry      Postmates Sales HCEL 09.25.20                          09/25/2020                      105.28

General Ledger Entry      WORLDPAY                                               09/25/2020                                   7,792.83

General Ledger Entry      WORLDPAY                                               09/26/2020                                  12,098.85

General Ledger Entry      AMEX                                                   09/26/2020                      623.89

General Ledger Entry      WORLD PAY - OLO TENDER                                 09/26/2020                     1,050.44

General Ledger Entry      WORLDPAY                                               09/27/2020                                   6,772.21

General Ledger Entry      AMEX                                                   09/27/2020                      846.18

General Ledger Entry      WORLD PAY - OLO TENDER                                 09/27/2020                                     311.02

Total Deposits                                                                                               238,212.25     38,939.02




Checks and Charges
Name                      Memo                                                  Date            Check No        Cleared    Outstanding

General Ledger Entry      HCEL RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND O 06/16/2020                                      27.95

Imperial Beverage                                                                07/23/2020           EFT                       128.00

Imperial Beverage                                                                07/23/2020   Voided - EFT                     -128.00

Henry A. Fox Sales Co.                                                           08/28/2020           EFT                       219.45

Henry A. Fox Sales Co.                                                           08/28/2020   Voided - EFT                     -219.45

Dan Henry                                                                        08/31/2020           EFT        240.00

General Ledger Entry      Interco CASH                                           08/31/2020            eft     43,031.83

General Ledger Entry      Unknown AMEX Variance HCEL                             09/01/2020            eft        30.68

General Ledger Entry      Unknown WORLDPAY Variance HCEL                         09/01/2020            eft        24.16

General Ledger Entry      Unknown AMEX Variance HCEL                             09/01/2020            eft        19.95

General Ledger Entry      Unknown WORLDPAY Variance HCEL                         09/01/2020            eft        31.35
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General Ledger Entry             Interco CASH                                 09/01/2020      eft   11,379.00

Dan Henry                                                                     09/02/2020      EFT     366.00

General Ledger Entry             Interco CASH                                 09/02/2020      eft    7,282.53

General Ledger Entry             Unknown AMEX Variance HCEL                   09/02/2020      eft        0.70

West Side Beer Distributing                                                   09/03/2020      EFT     806.00

Alliance Beverage Distributing LLC                                            09/03/2020      EFT    1,063.00

General Ledger Entry             Interco CASH                                 09/03/2020      eft    4,261.79

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/04/2020      eft      17.48

General Ledger Entry             WorldPay Monthly Charges - P9 2020           09/04/2020      eft    3,862.86

Imperial Beverage                                                             09/04/2020      EFT    1,142.90

State of Michigan - MLCC                                                      09/08/2020      EFT     476.40

Restaurant Technologies, Inc                                                  09/08/2020      EFT     608.59

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/08/2020      eft      13.67

General Ledger Entry             Unknown AMEX Variance HCEL                   09/08/2020      eft        9.69

General Ledger Entry             Vantiv Monthly Charges - P9 2020             09/08/2020      eft     304.07

General Ledger Entry             Interco CASH                                 09/08/2020      eft   42,864.86

Dan Henry                                                                     09/08/2020      EFT     210.00

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/08/2020      eft        1.56

General Ledger Entry             Unknown AMEX Variance HCEL                   09/08/2020      eft        3.60

General Ledger Entry             Interco CASH                                 09/09/2020      eft   14,178.63

Alliance Beverage Distributing LLC                                            09/09/2020      EFT     477.00

Imperial Beverage                                                             09/09/2020      EFT     450.00

fintech                                                                       09/09/2020      EFT      37.32

OLO                                                                           09/09/2020      EFT     760.36

Red Tap Solutions                                                             09/10/2020      EFT     900.00

General Ledger Entry             Interco CASH                                 09/10/2020      eft     141.70

Red Tap Solutions                                                             09/11/2020      EFT     234.50

State of Michigan - MLCC                                                      09/11/2020      EFT     370.34

General Ledger Entry             Interco CASH                                 09/11/2020      eft    5,556.22

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/13/2020      eft      15.37

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/14/2020      eft      11.22

General Ledger Entry             Interco CASH                                 09/14/2020      eft   34,404.82

Alliance Beverage Distributing LLC                                            09/15/2020      EFT     533.00

West Side Beer Distributing                                                   09/15/2020      EFT      79.00

State of Michigan - MLCC                                                      09/15/2020      EFT     157.28

General Ledger Entry             Interco CASH                                 09/15/2020      eft    1,659.12

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/15/2020      eft      10.85

Imperial Beverage                                                             09/15/2020      EFT     933.35

General Ledger Entry             Mercantile Monthly Bank Charges - P9 2020    09/15/2020      eft      92.84

General Ledger Entry             Interco CASH                                 09/16/2020      eft    5,796.56

General Ledger Entry             Unknown WORLDPAY Variance HCEL               09/16/2020      eft      51.68

State of Michigan - MLCC                                                      09/17/2020      EFT     967.52

General Ledger Entry             Interco CASH                                 09/17/2020      eft    5,046.45

Michigan Dept of Treasury                                                     09/17/2020     4267               12,456.45
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Imperial Beverage                                                                      09/18/2020           EFT       1,512.90

General Ledger Entry             Interco CASH                                          09/18/2020            eft       279.57

General Ledger Entry             Positive Solutions Support - Monthly Transact on P9   09/18/2020            eft       623.00

Restaurant Technologies, Inc                                                           09/21/2020           EFT                    1,170.87

General Ledger Entry             Interco CASH                                          09/21/2020            eft     21,669.91

Dan Henry                                                                              09/21/2020            eft       150.00

State of Michigan - MLCC                                                               09/21/2020           EFT        115.95

Restaurant Technologies, Inc                                                           09/21/2020           EFT        906.75

Restaurant Technologies, Inc                                                           09/21/2020   Voided - EFT                  -1,170.87

Dan Henry                                                                              09/22/2020           EFT        175.00

M4 C.I.C. LLC                                                                          09/22/2020           EFT        145.00

General Ledger Entry             Interco CASH                                          09/22/2020            eft      5,741.16

Imperial Beverage                                                                      09/22/2020           EFT        419.00

General Ledger Entry             Unknown AMEX Variance HCEL                            09/23/2020            eft        62.55

General Ledger Entry             Interco CASH                                          09/23/2020            eft      6,213.10

Alliance Beverage Distributing LLC                                                     09/24/2020           EFT        418.00

State of Michigan - MLCC                                                               09/24/2020           EFT        428.41

Henry A. Fox Sales Co.                                                                 09/24/2020           EFT        436.00

Red Tap Solutions                                                                      09/24/2020           EFT        900.00

Imperial Beverage                                                                      09/24/2020           EFT        660.85

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        09/24/2020            eft        58.97

General Ledger Entry             Unknown WORLDPAY Variance HCEL                        09/24/2020            eft          1.76

General Ledger Entry             Unknown AMEX Variance HCEL                            09/24/2020            eft       135.81

General Ledger Entry             Unknown AMEX Variance HCEL                            09/25/2020            eft        46.56

General Ledger Entry             Interco CASH                                          09/25/2020            eft      6,194.20

Total Checks and Charges                                                                                           238,212.25    12,484.40
